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14
15                            UNITED STATES DISTRICT COURT
16                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                          Case No. 3:19-cv-01537-BEN-JLB
18
19                      Plaintiffs,                 Hon. Roger T. Benitez
                                                    Magistrate Hon. Jill L. Burkhardt
20
          vs.                                       DECLARATION OF EMANUEL
21
                                                    KAPELSOHN IN SUPPORT OF
22 XAVIER BECERRA, in his official                  PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of                  PRELIMINARY INJUNCTION
23 California, et al.,
24                                                  Complaint filed:August 15, 2019
                       Defendants.                  Amended Complaint filed:
25
                                                    September 27, 2019
26
27                                                  Hearing Date: January 16, 2020
                                                    Time: 10:00 a.m.
28                                                  Courtroom: 5A, 5th Floor

                 DECLARATION OF EMANUEL KAPELSOHN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1                      DECLARATION OF EMANUEL KAPELSOHN
 2 I, Emanuel Kapelsohn, declare as follows:
 3        1. I am an expert, consultant, and expert witness in matters including firearms,
 4
     ballistics, firearms safety, firearms training, police training and tactics, self-defense, and
 5
     the use of force. I have been retained by the plaintiffs in this matter to provide expert
 6
     opinion testimony regarding the design, usage, utility, safety features, and lethality of
 7
     modern semiautomatic rifles, primarily the AR-15 type rifle in its common
 8
 9 configurations discussed below. I have personal knowledge of the facts stated herein,
10 and if called as a witness, I could competently testify to these facts.
11        2. This declaration is executed in support of plaintiffs’ motion for a preliminary
12 injunction in this matter, in which they seek to enjoin the continuing prohibition on
13 these semi-automatic firearms.
14
                                           QUALIFICATIONS
15
          3. I have been a professional instructor and instructor-trainer in firearms, tactics,
16
     self-defense, and use of force, primarily for law enforcement officers, police instructors
17
18 and law enforcement agencies throughout the United States, and occasionally in other
19 countries, for the past 39 years. I have also trained hundreds of private individuals (i.e.,
20 non-law enforcement officers) in firearms skills.
21        4. I have been certified as a firearms instructor by the FBI, NRA, New Jersey
22 Police Training Commission, Pennsylvania Municipal Police Officers Education &
23
   Training Commission, Glock, H&K, and others. My instructor certifications cover
24
   rifles of all sorts, handguns, and shotguns, and cover both the training of police and
25
   civilians in recreational and defensive use of firearms. I am also certified as a Chief
26
27 Range Safety Officer, that being someone who is trained to supervise other instructors
28 on a multi-range facility, and to oversee the operations of the facility from a safety
                                                     -1-
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 1 standpoint. I was an instructor at the Burlington County (New Jersey) Police Academy
 2 from approximately 1986 to 1995, and was an instructor at the Allentown
 3 (Pennsylvania) Police Academy from 1999-2007. I taught a course I developed entitled
 4
   “Police Use of Force” in the Criminal Justice Department of Indiana University in
 5
   Bloomington, Indiana for two years while I lived in Indiana. I instructed in a 3-year
 6
   series of Senior Firearms Instructor Classes for the federal Bureau of Alcohol, Tobacco
 7
   & Firearms, taught at various locations on the East and West Coasts. I have regularly
 8
 9 been a presenter on firearms-related topics at annual and regional training conferences
10 of the International Association of Law Enforcement Firearms Instructors (IALEFI), the
11 International Law Enforcement Educators & Trainers Association (ILEETA), and
12 formerly the American Society of Law Enforcement Trainers (ASLET).
13       5. Law enforcement agencies for which I have conducted instructor-level training
14
   in firearms include the New York State Police (multiple courses), Oregon State Police,
15
   Louisiana State Police, Missouri Highway Patrol, Washington D.C. Metropolitan Police
16
   (two courses), Massachusetts Metropolitan Police, Tennessee Bureau of Investigation,
17
18 Toronto Metropolitan Police Service (Emergency Task Force and Dignitary Protection
19 Unit), Calgary Police Service Tactical Unit, Salt Lake County Sheriff’s Office, Nevada
20 State Fire Marshal’s Office, and the Police Departments of Philadelphia, Baltimore,
21 Jersey City, Trenton, Atlantic City (multiple courses), Dallas (two courses), Phoenix
22 (multiple courses), Miami, Jacksonville (two courses), St. Petersburg, Seattle, Tacoma,
23
     and many others.
24
         6. I have consulted extensively for years for the Pennsylvania Municipal Police
25
     Officers Education & Training Commission (“MPOETC”). Among other things, I
26
27 served on the curriculum development committee that wrote the firearms and use of
28 force curriculum that has been used at police academies throughout the Commonwealth
                                                   -2-
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 1 of Pennsylvania for the past 18 years. I conducted instructor-training courses for the
 2 MPOETC at the Pennsylvania State Police Academy at Hersey, at Fort Indiantown Gap,
 3 and at other locations; have served as a subject matter expert that established Patrol
 4
   Rifle Guidelines (“patrol rifles” being AR-15 type rifles) for Pennsylvania’s law
 5
   enforcement agencies, and most recently served on the MPOETC committee that
 6
   created a mandatory in-service Use of Force training program (including teaching the
 7
   pilot course and an instructor-training course) that has been presented to some 25,000
 8
 9 police officers throughout the Commonwealth of Pennsylvania.
10       7. I have served for some 35 years on the IALEFI Board of Directors, and for the
11 past several years have been First Vice President of that association. IALEFI publishes
12 authoritative materials and guidelines for law enforcement training, and conducts police
13 firearms and use of force training programs, including a week-long Annual Training
14
     Conference attended by hundreds of law enforcement firearms instructors from all parts
15
     of the United States and various foreign countries. IALEFI also conducts some 15-20
16
     additional police training programs per year at locations throughout the country.
17
18       8. I have served as a sworn, armed reserve deputy sheriff or special deputy sheriff

19 for two sheriff’s departments over the past 23 years, have served as a firearms and use
20 of force instructor at both of those departments, and have had first-hand experience in a
21 wide range of law enforcement activities, up to and including the arrest of criminals at
22 gunpoint, and dealing with barricaded gunman situations.
23
         9. In California, I have taught firearms classes for the San Francisco Sheriff’s
24
     Office, for nuclear security personnel of the Sacramento Municipal Utilities District,
25
     taught a police firearms instructor course hosted by the El Cajon Police Department
26
27 attended, among others, by instructors from the California Department of Justice, taught
28 in an IALEFI Annual Training Conference hosted by the San Diego District Attorney’s
                                                    -3-
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 1 Office, and taught in BATF Senior Firearms Instructor Courses held in San Diego, Los
 2 Angeles, and San Francisco.
 3       10. Concerning my experience, knowledge, and expertise with semiautomatic
 4
     rifles in general and AR-15 type rifles in particular, I have owned and used
 5
     semiautomatic rifles since I was sixteen, that is, for the past 51 years. I have, since the
 6
     1970’s, owned and used Ruger Mini-14 rifles. The Mini-14 is a semiautomatic, .223
 7
     (5.56mm) caliber rifle that is functionally virtually identical to the AR-15 rifle in terms
 8
 9 of its ballistics, rate of fire, and other capabilities, although most of the Mini-14’s
10 variants have not had some of the AR-15’s military-looking features that the California
11 legislation finds objectionable, such as the pistol grip and flash suppressor. I currently
12 own several Ruger Mini-14 rifles, and I have personally carried Mini-14 rifles for
13 defensive purposes on three continents. I have owned and used AR-15 rifles since the
14
   1980’s. I served as the Line Judge for Colt Firearms at the first Colt Cup rifle
15
   competition ever held, which was fired with AR-15 rifles in Connecticut. I have been
16
   certified as an AR-15 Armorer by Colt, and as an FN-15 Armorer by FN (Fabrique
17
18 Nationale). An armorer is an individual trained and certified to inspect, maintain, and
19 repair a certain model or category of firearms by the manufacturer of the firearms.
20 Certification as an armorer means I am fully conversant with the internals parts and
21 workings of the AR-15, its design and function. The FN-15 is an AR-15 clone,
22 manufactured by FN and functionally identical to the Colt AR-15. It is used as a patrol
23
   rifle by my sheriff’s department. I have written several published articles about the AR-
24
   15 and other semiautomatic rifles, and have on at least two occasions worked as a
25
   consultant to manufacturers of such rifles. I currently own several AR-15 rifles, as well
26
27 as M1A rifles, M1 Garand rifles, US M1 Carbines, Mini-14s, semi-automatic variants
28 of the AK-47 rifle, an SKS rifle, a Ruger 10/22, an AR-7 survival rifle, and other
                                                    -4-
                 DECLARATION OF EMANUEL KAPELSOHN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 semiautomatic rifles that the California legislation in question might categorize as
 2 “assault weapons.” I have also owned and used other semiautomatic rifles, including
 3 the Steyr AUG, the FN-FAL, several semiautomatic .22 rimfire rifles, an H&K 91, and
 4
   several IWI Tavor rifles. I assisted IWI in the development of its Armorer Course for
 5
   the Tavor rifle, and in preparation of its Armorer Manual.
 6
        11. I have taught police user-level and instructor level courses in what police call
 7
   “patrol rifle” (i.e., AR-15 type rifle) in 1999, 2003, 2004, 2009, 2010, 2012, 2017 and
 8
 9 2018, have taught a “Shoulder Weapon Selection” course at the State of Connecticut
10 Police Academy in 1994, Countersniper Rifle Courses at Ft. Dix (NJ) and at the
11 Glastonbury Police Department in Connecticut, Special Weapons and SWAT Team
12 courses addressing the AR-15 rifle at the Atlantic County (NJ) and Cape May County
13 (NJ) Police Academies, assisted in conducting AR-15 rifle training and qualification
14
   sessions for my sheriff’s departments in Indiana and Pennsylvania, and for the Berks-
15
   Lehigh Regional Police, and was a presenter on the Patrol Rifle Panel at the ILEETA
16
   Annual Conference in St. Louis in 2017.
17
18      12. I achieved competitive rankings as a Junior Smallbore (Rifle) Expert and

19 Light Rifle Expert in my teenage years, and have thereafter been certified as a
20 Highpower Rifle Expert, Patrol Rifle Expert, Patrol Rifle Instructor, and Police
21 Precision Rifle Instructor. I successfully graduated from the NRA’s Police Rifle
22 Instructor Development Course taught at USMC Base Quantico, Virginia, from the
23
   NRA’s Precision Rifle Instructor School held at The Crucible in Fredericksburg,
24
   Virginia, from the IACP’s Countersniper Rifle Course at Fort Dix, New Jersey, from
25
   Gunsite’s General Rifle Course (using an MIA semiautomatic rifle) with an Expert
26
27 rating, from the Thunder Ranch “Urban Rifle” course (using two models of
28 semiautomatic rifles), and from the U.S. Army Marksmanship Training Unit’s
                                                   -5-
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 1 Countersniper Rifle Course at Fort Benning, Georgia. With handgun, I have held the
 2 rating of Distinguished Expert, which is a higher rating than expert, and I was an “A”
 3 Class IPSC Combat Pistol Shooter. I have competed on a regional and national level
 4
   with shotgun, and have placed on a winning team with shotgun in a national event.
 5
        13. In addition to the AR-15s and other semiautomatic rifles mentioned above, I
 6
   have owned and used bolt-action rifles, lever-action rifles, break-open single shot
 7
   (“hinge action”) rifles and combination guns, pump-action rifles, and black powder
 8
 9 muzzle-loading rifles. In addition, I have owned and used select-fire M16 rifles (which
10 are true “machine guns” capable of fully automatic fire), as well as select-fire
11 submachine guns of various brands and types, also capable of fully automatic fire.
12 I have also fired other fully-automatic firearms, including military belt-fed machine
13 guns and automatic weapons fed from large box magazines. I have also received
14
   armorer training, and have worked as an expert witness, in two cases involving the
15
   GAU-17 and other motor-driven, fully automatic “mini-guns,” typically mounted on
16
   helicopter gunships, military patrol boats, and other military vehicles, capable of cyclic
17
18 rates of fire ranging from 2,000 to 4,000 rounds per minute. I am thus conversant with
19 all types of rifles, their designs and functioning characteristics, their capabilities,
20 ballistics, and features, and have actual, first-hand knowledge of the differences
21 between true military weapons and the semi-automatic rifles, shotguns and handguns
22 addressed by the California legislation. I have also written over 30 published articles
23
   about handguns, handgun ammunition, and handgun technique, and at least seven
24
   published articles on shotguns (including semiautomatic shotguns), shotgun
25
   ammunition, and shotgun technique. I have served as a consultant on design features to
26
27 major manufacturers of rifles, shotguns and handguns. I was for several years Technical
28 Editor of POLICE MARKSMAN magazine, during which time I performed technical
                                                    -6-
                 DECLARATION OF EMANUEL KAPELSOHN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 reviews and evaluations of firearms, ammunition and firearms accessories of all sorts.
 2       14. In total, I have trained over 15,000 students in my firearms classes. I have
 3 watched them fire literally millions of rounds of ammunition from rifles (mainly AR-
 4
   15s and other semiautomatic rifles), handguns of all sorts, shotguns, submachine guns,
 5
   and machine guns. I have watched others fire many millions more rounds from such
 6
   firearms in training classes, qualification exercises, competitions, and firearms
 7
   demonstrations. I myself have fired hundreds of thousands of rounds of ammunition
 8
 9 from such weapons. I have owned and/or used firearms, including select-fire and fully
10 automatic firearms, with suppressors (“silencers”), flash suppressors, detachable box
11 magazines, drum magazines, pistol-grip stocks, folding stocks, telescoping stocks,
12 barrel shrouds, and other features addressed by the legislation in question. I last
13 participated in an AR-15 training class about two weeks ago, and I will next be involved
14
     in police AR-15 training and qualification within the next two weeks. Unlike many of
15
     the individuals who, on information and belief, have drafted, proposed, and/or support
16
     the legislation in question, I have actual – not theoretical or second-hand – experience
17
18 with all of the types of firearms and firearms design features addressed by the
19 legislation.
20                                PRIOR EXPERT TESTIMONY
21       15. I have served as an expert witness in numerous courts since 1984. In total, I
22 have served as an expert in well over 350 cases, and have testified roughly 85 times in
23
   criminal and civil trials in state and federal trial courts throughout the United States, in
24
   addition to testimony before grand juries, Police Boards, administrative courts and
25
   tribunals (including the U.S. Government Accountability Office or “GAO”), state and
26
27 city legislative committees, and before committees of both Houses of the United States
28 Congress. In total, I have been qualified and have testified as an expert in some
                                                    -7-
                 DECLARATION OF EMANUEL KAPELSOHN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 14 federal courts in 12 states, and in some 45 state courts in 18 states. I have also
 2 served as an expert in cases that have been dismissed, settled, plea bargained, or for
 3 some other reason have not gone to trial, and therefore have not required my testimony,
 4
   in at least 23 other states, the District of Columbia, Puerto Rico, the U.S. Virgin Islands,
 5
   and Canada. In California, I have testified as an expert in the U.S. District Court for
 6
   the Southern District of California (Estate of Angel Lopez v. City of San Diego, Case
 7
   No. 3cv2240 GPC (MDD), 2017), and in the California Superior Court for Fresno
 8
 9 County (Loera v. Glock, Inc., No. 498182-5). I have worked as an expert in several
10 other California cases that have not gone to trial.
11       16. I have served as an expert in several cases involving AR-15s and other
12 semiautomatic rifles, most often (but not always) used by police officers.
13                             OPINIONS AND ANALYSIS
14
         17. A semiautomatic firearm uses the power of the firing cartridge, typically
15
     either through diverting some of the pressurized gas from the cartridge’s burning
16
     propellant gunpowder, or through the recoil produced when the projectile moves
17
18 forward out of the cartridge case, to operate the gun’s mechanism and bring a fresh
19 cartridge into position for firing. In a semiautomatic firearm, the trigger must be pulled
20 separately for each shot. A semiautomatic firearm differs from a manually operated
21 repeating firearm, such as a bolt-action, lever-action, or pump-action firearm, in which
22 the user manually operates the mechanism to bring a fresh cartridge into position for
23
     firing. The semiautomatic also differs from a fully automatic (“automatic”) firearm –
24
     commonly called a “machine gun” -- in which holding the trigger depressed will result
25
     in a continuous series of shots until the trigger is released or the ammunition supply is
26
27 exhausted. Semiautomatic firearms are not a new invention. Semiautomatic rifles,
28 shotguns, and handguns were all developed before 1900, and were in common use in
                                                    -8-
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  1 the early 1900’s.
  2       18. Armalite, an American small arms engineering firm located in California,
  3 developed the AR-15 in the 1950’s. It was designed in large part by Eugene (“Gene”)
  4
    Stoner, a famous American firearms designer whom I met and spoke with several times.
  5
    In 1959, due to financial and production problems, Armalite sold its rights to its AR-10
  6
    and AR-15 designs to Colt’s Manufacturing. A version of the rifle, in select-fire form
  7
    (meaning it could, by operation of a selector switch, be fired either semiautomatically,
  8
  9 i.e., one shot for each pull of the trigger, or fully-automatically, i.e., continuous firing as
 10 long as the trigger was held depressed), was first used by our military in the Vietnam
 11 War as the M-16. AR-15 type rifles, also called “MSRs” or “Modern Sporting Rifles,”
 12 are today among the most popular rifles sold and used in the United States. They have
 13 been manufactured by literally hundreds of companies, including Colt, FN, Ruger,
 14
      Remington, Bushmaster, Rock River Arms, Wilson Combat, Barrett, DPMS Panther
 15
      Arms, H&K, Lewis Machine, Olympic Arms, Palmetto State Armory, and Mossberg.
 16
      The National Shooting Sports Foundation (NSSF), a firearms industry trade group,
 17
 18 estimates that there are currently between 5 and 10 million AR-15 rifles in civilian
 19 hands in the United States today. The AR-15 uses a detachable box magazine for the
 20 .223 Remington or 5.56mm NATO cartridge (the two rounds are very similar, and can
 21 be used interchangeably in many AR-15s). The most common magazine size is
 22 30 rounds, although magazines of 5, 10, 20 and 40 rounds are also available, as well as
 23
      other sizes. With an estimated 5-10 million AR-15 rifles in civilian hands, there are
 24
      certainly many times that number of 20-round and 30-round magazines in private
 25
      ownership as well. AR-15 rifles are commonly used for both formal and informal target
 26
 27 shooting (including each year at the National Matches at Camp Perry, Ohio), for
 28 hunting, by farmers and ranchers for control of predators and pest animals, and for
                                                     -9-
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  1 self-defense. They are also widely used by law enforcement agencies as “patrol rifles,”
  2 in many parts of the country all but completely replacing the 12-gauge shotgun as the
  3 shoulder weapon carried in most police cars. Anyone visiting any retail gun store in
  4
    most states will see many AR-15 rifles for sale, as well as displays of magazines,
  5
    accessories, and ammunition for these rifles. Similarly, someone taking a trip to most
  6
    outdoor shooting ranges, and indoor ranges with rifle capability as well, will find many
  7
    people target shooting with AR-15 rifles. The AR-15 is especially popular because of
  8
  9 its light weight, mild recoil, and good ergonomics, all of which make it well suited to
 10 younger shooters, female shooters, and other shooters of smaller stature, as well as an
 11 easy rifle for larger, stronger individuals to use. All of these design features of the
 12 AR-15 – its light weight, mild recoil, and good ergonomics – as well as the adjustable
 13 length of its buttstock when fitted with a telescoping buttstock, the effectiveness of its
 14
      cartridge for self-defense use, and its better continuity of fire when used with its most
 15
      commonly available 20-round and 30-round magazines, make the AR-15, in many
 16
      cases, a better choice of shoulder weapon for a female user or other smaller-statured
 17
 18 user than the 12-gauge or other shotguns that have often been recommended for that
 19 purpose. The shotgun, in fact, is much harder for most women (as well as most other
 20 shooters) to use, too heavy, ill-fitting in its commonly available stock configurations,
 21 and has recoil which is far too punishing, discouraging practice and resulting in poor
 22 competence and many safety problems. For the same reasons that the AR-15 has
 23
    largely replaced the shotgun in police use, it is a better choice as a self-defense weapon
 24
    for many private individuals as well. Other semiautomatic rifles which would be
 25
    prohibited by the California legislation, including the bullpup design IWI Tavor and
 26
 27 Steyr AUG, are similarly good choices as self-defense shoulder weapons for women
 28 and others. The bullpup designs are particularly popular among women because the
                                                     - 10 -
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  1 design places more of the rifle’s weight closer to the user’s body, where less muscle is
  2 needed to support it when firing.
  3       19. My opinion that AR-15 rifles are suitable for self-defense use by private
  4
      individuals is supported by many examples of such use. For example, a pregnant
  5
      mother used an AR-15 to save the life of her husband, killing one of the two intruders
  6
      who were terrorizing her family. Attached hereto as Exhibit 1 is a true and correct copy
  7
      of the digital article “Pregnant Florida Mom Uses AR-15 to Kill Home Intruder.”
  8
  9       20. Another example was in Glen St. Mary, Florida in 2018, where seven home

 10 invaders were fought off by their would-be victim using an AR-15. One of the seven
 11 invaders was killed, and five others were arrested. The defender fired over thirty
 12 (30) shots in the process, underscoring the need for magazines that hold more than a
 13 few rounds of ammunition. Attached hereto as Exhibit 2 is a true and correct copy of
 14
      the digital article, “Deputies: 30 Rounds Fired From AR-15 in Deadly Florida Home
 15
      Invasion.”
 16
          21. In another case, in Oswego, Illinois, a man named Dave Thomas, who was in
 17
 18 legal possession of an AR-15, used it without the need to fire a single shot to stop a man
 19 who was repeatedly stabbing one of his neighbors. Attached hereto as Exhibit 3 is a
 20 true and correct copy of the digital article “Man Armed With AR-15 Stops Attack By
 21 Neighbor in Oswego.”
 22      22. In the highly-publicized 2017 active shooter event at the First Baptist Church
 23
    in Sutherland Springs, Texas, in which the gunman killed 27 people and wounded
 24
    20 others, a 55-year-old plumber living across the street from the church, alerted by his
 25
    daughter that a man was shooting people at the church, got his AR-15 out of his gun
 26
 27 safe, loaded it, and exchanged shots with the gunman, hitting him twice, and then
 28 flagged down a passing motorist to pursue the gunman together when the gunman
                                                      - 11 -
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  1 attempted to flee from the scene. Attached hereto as Exhibit 4 is a true and correct
  2 copy of the digital article, “Texas Hero Reportedly Used His Own AR to Confront the
  3 Sutherland Springs Shooter.”
  4
          23. In a case in Harris County, Texas in 2013, a 15 year old boy, at home with his
  5
    little sister, used an AR-15 to drive off two burglars who had broken a window to enter
  6
    the house. They fled, leaving a trail of blood. Attached hereto as Exhibit 5 is a true and
  7
    correct copy of the digital article, “Harris County Deputy’s Son Shoots One of Two
  8
  9 Intruders.” Also in 2013, a man with a .223 AR-15-type rifle in Montgomery County,
 10 Pennsylvania, successfully defended himself and his wife against an intruder, who died
 11 later in the hospital. Attached hereto as Exhibit 6 is a true and correct copy of the
 12 digital article, “Elkins Park Man Killed After Forcing His Way Into Apartment.”
 13      24. In 2017 in Broken Arrow, Oklahoma, three masked intruders were shot and
 14
    killed by 23-year-old Zach Peters, the son of the home’s owner, using an AR-15 rifle.
 15
    The shooting was ruled justifiable. Attached hereto as Exhibit 7 is a true and correct
 16
    copy of the digital article, “Shooting Deemed Justifiable: Authorities Say Zach Peters
 17
 18 Acted Lawfully When He Shot, Killed Three Intruders.”
 19       25. Numerous other cases in which the AR-15 and other semi-automatic rifles
 20 have been used in self-defense can be found. The fact that several of the above
 21 examples are cases in which a homeowner or other private citizen has had to fight off
 22 multiple attackers is significant in explaining the need for semiautomatic firearms and
 23
      magazines that hold 20-30 rounds of ammunition.
 24
          26. It is incorrect, and in fact a common myth, that the .223/5.56mm projectile
 25
      fired by the AR-15 and other rifles under consideration is too penetrative to be used
 26
 27 safely for self-defense inside homes and businesses, and around farms and ranches. If
 28 that were the case, then why are police using AR-15 “patrol rifles” nationwide,
                                                    - 12 -
                 DECLARATION OF EMANUEL KAPELSOHN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1 including as entry weapons for indoor searches and deployments? The fact is that with
  2 properly selected ammunition, the .223/5.56mm actually presents less danger of
  3 overpenetrating walls, floors, ceilings and criminal attackers than conventional
  4
    self-defense handgun bullets in calibers such as 9mm, .40 S&W, and .45 Auto. This is
  5
    because the .223/5.56mm has a much higher muzzle velocity and fires a much smaller,
  6
    lighter projectile which, if properly selected as to projectile type (e.g., the self-defense
  7
    type softpoint, hollow point, or ballistic tip bullets that are widely available where
  8
  9 ammunition is sold), will fragment easily and will be unlikely to penetrate as many
 10 sheetrock partitions or other common building elements as many common handgun
 11 bullets. I have demonstrated this to classes of police and others by firing through
 12 sheetrock and other materials, and many published studies confirm the same results.
 13 Attached hereto as Exhibit 8 is a true and correct copy of R.K. Taubert (FBI, Ret.),
 14
    “About .223 Penetration.” Attached hereto as Exhibit 9 is a true and correct copy of
 15
    “Real World Testing: .223/5.56 Penetration Tests vs. .40 S&W and 12 ga. Slug;” See
 16
    also attached hereto as Exhibit 10 the digital article, “Why ‘High-Powered’ 5.56
 17
 18 NATO/.223 AR-15 is Safer for Home Defense (FBI Overpenetration Testing),”
 19 Prepared Gun Owners, July 14, 2016.
 20       27. Penal Code section 30515(a)(1) identifies several features that distinguish
 21 “assault weapons” – as it defines that term -- from ordinary semiautomatic firearms. In
 22 actuality, the term “assault weapon” (unlike “assault rifle,” which is a compact,
 23
      lightweight select-fire rifle firing a intermediate-powered cartridge) is a pejorative term
 24
      created by legislative draftsmen which has no technical definition in the firearms field.
 25
      See Standards & Practices Reference Guide for Law Enforcement Firearms Instructors,
 26
 27 P. Covey and E. Kapelsohn, 1995, “assault rifle” and “assault weapon,” p. 5 ff. Having
 28 extensive personal experience as a user, as a firearms instructor, and as a consultant,
                                                     - 13 -
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  1 with all of the design features identified by the legislation, and with their practical
  2 effects on the capabilities of firearms, I will address these features seriatim.
  3       28. Penal Code section 30515(a)(1)(A) of the legislation identifies a “pistol grip
  4
      that protrudes conspicuously beneath the action of the weapon.” The current AR-15
  5
      addressed by the legislation is, as discussed above, is a semiautomatic version of the
  6
      select-fire military M16 and its predecessor, the Armalite Model 15 rifle. The M16 is
  7
      designed, as its “select-fire” description indicates, to fire either semiautomatically, or
  8
  9 automatically (“full-auto”) by the positioning of its safety/selector lever. When firing
 10 automatically (“full-auto”), the M16 has a cyclic rate of fire of 750-900 rounds per
 11 minute. In practical effect, with the most commonly used 30-round magazines, a
 12 shooter firing an M16 full-auto may actually be able to discharge roughly
 13 250-300 rounds per minute, although not with good accuracy. In order to allow military
 14
      users of the M16 to fire it full-auto while staying on target, rather than having
 15
      significant “muzzle climb” while firing, the M16, and similar assault rifles, employ
 16
      what is termed a “straight-line design,” meaning that the rifle’s barrel and stock are in
 17
 18 line, so that recoil is transmitted into the user’s shoulder along the axis of the bore/axis
 19 of recoil. See attached hereto as Exhibit 11 is a true and correct diagram of a standard
 20 AR-15/M16 (depicting the straight-line design referenced). In order to make this
 21 possible, the front and rear sight assemblies of the M16 are raised considerably (about
 22 2-1/2 inches) above the line of bore, so that they will be in line with the shooter’s eye
 23
      for aiming, when the rifle’s buttstock is seated on the user’s shoulder in firing position.
 24
      This differs from the conventional design of sporting rifles and shotguns (generally
 25
      wooden-stocked), in which the sights are mounted much closer to the axis of the
 26
 27 bore/axis of recoil, and the buttstock angles downward significantly to the user’s
 28 shoulder. Because the buttstock and the point of shoulder support is thus significantly
                                                     - 14 -
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  1 below the axis of recoil, such conventionally-stocked rifles, if designed to fire full-auto
  2 and if fired that way, typically exhibit a great deal of “muzzle rise,” making it hard to
  3 keep them on target when firing full-auto. The purpose of the M16’s straight-line
  4
    design is to eliminate this muzzle rise. However, because the M16 and AR-15 have a
  5
    stock which comes straight back from the rifle’s receiver to the user’s shoulder, it
  6
    became necessary to provide a “pistol grip” that protrudes downward from the rifle’s
  7
    receiver (“action,” per the statute). Otherwise, the user would have to raise his or her
  8
  9 dominant arm uncomfortably high grip the rifle’s buttstock, in a position where the
 10 dominant hand would interfere with aiming the rifle, and where the trigger and trigger
 11 guard of the M16 and AR-15 are not located. The design purpose of the M16/AR-15’s
 12 pistol grip is to position the user’s hand properly behind the trigger and trigger guard of
 13 the rifle – a position which would not be feasible for the user to assume without the
 14
      pistol grip – and, in the case of the M16 when fired full-auto, to provide better control
 15
      of the rifle. When the rifle is fired semiautomatically, in the normal manner for the
 16
      “civilian” AR-15, the pistol grip is not necessary for the purpose of preventing muzzle
 17
 18 rise, as the lower rate of fire, straight-line stock design, and very minimal recoil of the
 19 AR-15’s .223/5.56mm cartridge do not present a significant muzzle rise problem. This
 20 can easily be seen when firing the Ruger Mini-14 and other semiautomatic rifles for the
 21 .223/5.56mm cartridge which use conventional sporting rifle-type stocks, not
 22 straight-line design stocks, and have no pistol grips extending downward from the
 23
    rifle’s receiver, but can nevertheless be controlled easily and fired very accurately in
 24
    semiautomatic fire. Contrary to the claims of some anti-gun activists, a pistol grip on a
 25
    rifle stock does not allow the rifle to be “spray fired” wildly in all directions. Why
 26
 27 would our Department of Defense want our military rifles, including our M16 and later
 28 evolved M4 rifles, to be so equipped? The pistol grip on the AR-15 stock, and the
                                                     - 15 -
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  1 stocks of other semiautomatic rifles, also does not allow these rifles to be reloaded any
  2 faster than semiautomatic rifles without pistol grips.
  3       29. Penal Code section 30515(a)(1)(B) of the legislation addresses “thumbhole
  4
      stocks.” Thumbhole stocks have been made for many years for a wide variety of rifle
  5
      types, including bolt-action target rifles, not just for semiautomatic rifles. See, e.g.,
  6
      “Boyds     Hardwood        Gunstocks”        catalog      on     the     internet      (located     at:
  7
      https://www.boydsgunstocks.com/gallery#shapes). Depending on the shooter’s own
  8
  9 hand size and body configuration, thumbhole stocks can provide a comfortable grip on
 10 the rifle, and can facilitate accurate shooting by advantageously positioning the
 11 shooter’s dominant hand relative to the rifle’s trigger, while providing a comfortable
 12 and solid stock comb and cheekpiece to allow a consistent “cheek weld” for accurate
 13 firing. Thumbhole stocks can also provide a lower, more comfortable grip for the
 14
    dominant hand on rifles which, by their original design, might otherwise have a “pistol
 15
    grip” type stock. By prohibiting both pistol grip stocks and thumbhole stocks, the
 16
    legislation relegates rifles to be equipped and fired in a manner which is less
 17
 18 comfortable, less accurate, and less safe.
 19       30. Penal Code section 30515(a)(1)(C) addresses “folding or telescoping stocks.”
 20 While the AR-15 can be equipped with a solid (that is, not telescoping) buttstock, and
 21 my Sheriff’s Office AR-15 patrol rifle is so equipped, telescoping buttstocks are far
 22 more popular. Neither telescoping nor folding buttstocks turn semiautomatic rifles into
 23
      common instruments of crime, as even when so equipped, the rifles are far too large for
 24
      easy concealment for most criminal activities. This is probably the major reason why
 25
      most crimes committed with firearms, far and away, are committed with handguns. For
 26
 27 example, the USDOJ Bureau of Justice Statistics Special Report, NCJ251776, “Source
 28 and Use of Firearms Involved in Crimes” (2019) reports that of prison inmates,
                                                     - 16 -
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  1 18.4% used handguns in the commission of their crimes, while only 1.5% used rifles,
  2 and 1.6% used shotguns. Attached hereto as Exhibit 12 is a true and correct copy of the
  3 report.
  4
         31. What telescoping buttstocks actually do is allow for the rifle stock to be
  5
    adjusted to properly fit the user. The U.S. military’s current telescoping buttstock for
  6
    its M4 rifle (the modern evolution of the M16) allows the stock to be set for any of four
  7
    to six different lengths. This allows the rifle to be used comfortably and fired accurately
  8
  9 by shorter-statured shooters, including female shooters among others. It also allows the
 10 rifle to be adjusted for comfortable, accurate firing from different shooting positions, as
 11 a stock length that works well in the standing position may be too long for optimum use
 12 from a sitting or kneeling position. The telescoping stock also allows the stock to be
 13 shortened when the shooter is wearing heavy clothing, as in wintertime, and lengthened
 14
      when lighter clothing is worn in warmer weather. Telescoping-style adjustable stocks
 15
      are used for these same reasons on many other firearm models that are not
 16
      semiautomatic, such as the Mossberg pump-action Model 500 Tactical and ATI
 17
 18 Tactical shotguns. Attached hereto as Exhibit 13, a true and correct picture of a
 19 Mossberg 500 tactical pump shotgun with a collapsible stock.
 20       32. Penal Code section 30515(a)(1)(D) addresses semiautomatic firearms with a
 21 “grenade launcher or flare launcher.” Grenade launchers, such as the 40mm M203
 22 grenade launcher designed to be mounted on the military’s M16 and M4 rifles, are
 23
    largely prohibited from civilian ownership, or very heavily regulated by the federal
 24
    government, as “destructive devices” pursuant to the National Firearms Act of 1934.
 25
    Thus, the California legislation’s prohibition of grenade launchers, while sensational, is
 26
 27 largely superfluous. Regarding flare launchers, there is a reasonable argument that flare
 28 launchers have a legitimate safety and rescue purpose, as on ships and other watercraft.
                                                     - 17 -
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  1       33. Penal Code section 30515(a)(1)(E) addresses “flash suppressors.” A flash
  2 suppressor is a fixture on the end of a rifle’s barrel that divides and diverts the muzzle
  3 flash through several slots or holes, most commonly arranged radially around the axis
  4
    of the bore. The most common type of flash suppressor on AR-15 rifles is probably the
  5
    Mil Spec A2 birdcage type, which has four slots from about the nine o’clock to three
  6
    o’clock positions (that is, around the top 180 degrees of the suppressor), but is solid on
  7
    the bottom in order not to raise clouds of dust or dirt when firing from a prone position
  8
  9 on dry ground. Attached hereto as Exhibit 14, a true and correct picture of a A2
 10 birdcage flash hider. Flash suppressors are not expensive accessories; for example, the
 11 Aero Precision A2 birdcage-type suppressor retails for $7.99. The major advantages of
 12 a flash suppressor on a rifle’s barrel are: (1) the reduction of muzzle flash so as not to
 13 temporarily blind a shooter who is firing in a darkened environment, whether in a
 14
    defensive situation or on an indoor shooting range, and (2) the reduction of muzzle flash
 15
    from a military rifle, so as to minimize the illumination of the shooter, which might
 16
    reveal his location to enemy troops in darkened environments. The flash suppressor
 17
 18 also serves to protect the muzzle of the rifle from dirt, mud, sand, etc., which could
 19 dangerously plug the muzzle if it were to touch the ground outdoors.                            Purpose
 20 (2) above, which is primarily military in nature, is of questionable importance in regard
 21 to the criminal use of firearms in the civilian world. Purpose (1) above is important in a
 22 rifle used for self-defense by civilians, and legislation that prohibits flash suppressors
 23
      makes rifles less suitable for self-defense use by civilians. Law enforcement statistics
 24
      indicate that a high percentage of violent crime occurs during the hours of darkness, or
 25
      in otherwise darkened environments (poorly lighted indoor areas, for example).
 26
 27 Attached hereto as Exhibit 15, a true and correct copy of the digital article from
 28 Security Magazine, “Violent Crimes Most Likely to Occur At Night.” The use of a rifle
                                                     - 18 -
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  1 without a flash suppressor under those circumstances is likely to temporarily blind the
  2 user, or at least seriously impair the user’s vision, placing the law-abiding user at a
  3 disadvantage to a criminal attacker.
  4
         34. Penal Code section 30515(a)(1)(F) addresses “forward pistol grips.” Forward
  5
    pistol grips on rifles, also called vertical forends, are popular among some shooters in
  6
    allowing them to control the rifle better for more accurate shooting. Depending on the
  7
    design and the shooter’s physiology, such vertical forends can serve as monopods to
  8
  9 assist in stabilizing the rifle for precision firing in the prone position. They make the
 10 rifle neither more nor less suitable for use for criminal purposes. As stated above, the
 11 use of rifles in criminal activities is relatively rare altogether.
 12        35. Notable crimes committed with semiautomatic rifles, including the infamous
 13 FBI Miami Shootout (1986) in which two FBI agents were killed and five were
 14
    wounded, the Winn Dixie Shopping Center shooting in Palm Bay, Florida (6 killed,
 15
    14 wounded), and numerous others since that time, have been committed with Ruger
 16
    Mini-14 rifles. The Mini-14, while semiautomatic, typically has a conventional
 17
 18 “sporting” type wooden stock, no pistol grip, no flash suppressor, no telescoping stock,
 19 folding stock, or thumbhole stock, no grenade launcher or flare launcher – in other
 20 words, none of the “evil looking” cosmetic features addressed by the California
 21 legislation. The fact is that even without these features, virtually any
 22 detachable-magazine, semiautomatic rifle firing the .223/5.56mm cartridge will have
 23
    the same ballistics and same capabilities as the AR-15. Moreover, other repeating rifles
 24
    that are not semiautomatic could also be used with close to the same effectiveness by a
 25
    criminal, by a law enforcement officer, or by a civilian. For example, in a Police Patrol
 26
 27 Rifle Instructor Course I conducted, I fired the 50-round, 100-yard qualification course
 28 with a Winchester Model 94 lever-action rifle – an 1894 design – accomplishing the
                                                      - 19 -
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  1 timed reloads and achieving the second highest score in the class, among a class of
  2 police instructors all the rest of whom were using AR-15 rifles, except for one who used
  3 a semiautomatic AK-47 type rifle. Attached hereto as Exhibit 16, a true and correct
  4
    picture of a Winchester Model 94 lever action rifle. And the highest mortality rate of
  5
    any school shooting in the United States was the Virginia Tech shooting, in which no
  6
    “assault rifles” were used, just two ordinary handguns. Attached hereto as Exhibit 17, a
  7
    true and correct copy of the digital article, “This Day in History, April 16: Virginia
  8
  9 Tech Shooting Leaves 32 Dead.”
 10       36.. Regarding barrel shrouds on handguns, barrel shrouds on handguns are mainly
 11 a cosmetic feature, rather than an important tactical feature. I have been shooting
 12 handguns for the past 57 years, have never owned a handgun with a barrel shroud, and
 13 cannot recall ever burning my hand on the barrel of a handgun.
 14
          37. Regarding pistol grips on handgun (most of which already have a pistol-type
 15
      grip), vertical foregrips, and flash suppressors, the comments I have already provided
 16
      above are applicable.
 17
 18                                           CONCLUSION

 19       38. The California legislation appears to focus primarily on cosmetic features of
 20 firearms. In fact, the AR-15 is just another semiautomatic rifle, a type of firearm that
 21 has existed since about 1900. The AR-15 is, in many cases, an excellent rifle for law-
 22 abiding citizens to use for self-defense, as well as for target shooting, recreational
 23
      shooting, and control of predators, rodents and other pest animals where game laws
 24
      permit. Features such as flash suppressors, pistol grips, forward pistol grips (vertical
 25
      foregrips), telescoping stocks, and the other features discussed above are of little
 26
 27 significance to criminals, but if prohibited will make these rifles less useful, less
 28 accurate, and less safe for law-abiding citizens to use. It appears that this legislation is
                                                     - 20 -
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  1   either ill-informed, or that its intent is to prohibit one of the most widely used - because
 2    it is one of the most useful - firearms in existence in the United States.
 3         I declare under penalty of perjury that the foregoing is true and correct. Executed
 4
      on December   5 , 2019.
 5
 6
 7

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                  D EC LARA TJO N OF E ,'v!A NUEL KAPELSO!-!N i N S UPPORT OF PLAJNTJFFS' MOTION FOR   P RELJMJNA RY ! NJ UNCTION
                                                                                      (C ASE N o.: 3: l 9-c v -O 1537-BEN-JLB)
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  1
                                      EXHIBITS
  2
                                  TABLE OF CONTENTS
  3    Exhibit   Description                                                             Page(s)
  4
          1      “Pregnant Florida Mom Uses AR-15 to Kill Home                         0001-0003
  5              Intruder,” www.NYPost.com, November 2019
  6       2      “Deputies: 30 rounds fired from AR-15 in deadly                       0004-0006
  7              Florida home invasion,” www.news4jax.com,
                 April 2018
  8
          3      “Man armed with AR-15 stops attack by neighbor in                     0007-0009
  9              Oswego,” February 2018
 10       4      “Texas Hero Reportedly Used His Own AR to Confron 0010-0012
 11              the Sutherland Springs Shooter,”
                 www.nationalreview.com, November 2017
 12
          5      “Harris County deputy’s son shoots one of two                         0013-0015
 13              intruders,” www.chron.com, June 2010
 14       6      “Elkins Park man killed after forcing his way into                    0016-0017
 15              apartment,” The Philadelphia Inquirer, April 2013
 16       7      “Shooting deemed justified: Authorities say Zach                      0018-0022
                 Peters acted lawfully when he shot, killed three
 17              intruders,” www.tulsaworld.com, April 2017
 18       8      “About .223 Penetration,” R. K. Taubert                               0023-0032
 19       9      “Real World Testing: .223/5.56 Penetration Tests vs.                  0033-0039
 20              .40 S&W and 12 ga. Slug;”
         10      “Why “High Powered” 5.56 NATO/.223 AR-15                              0040-0043
 21
                 Ammo is Safer For Home Defense
 22               (FBI overpenetration testing),”
 23              www.preparedgunowners.com, July 2016

 24      11      Diagram of a standard AR-15/M16                                       0044-0045
                 (depicting the straight-line design referenced)
 25
         12      “Source and Use of Firearms Involved in Crimes:                       0046-0066
 26              Survey of Prison Inmates, 2016,” Special Report, U.S.
 27              Department of Justice, Bureau of Justice Statistics,
                 January 2019
 28
                                                    - 22 -
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  1                                   EXHIBITS
                                  TABLE OF CONTENTS
  2
       Exhibit   Description                                                             Page(s)
  3
  4      13      Picture of a Mossberg 500 tactical pump shotgun                       0067-0068
                 with a collapsible stock
  5
         14      Picture of a A2 birdcage flash hider                                  0069-0071
  6
         15      “Violent Crimes Most Likely to Occur At Night,”                       0072-0075
  7              Security Magazine, June 2019
  8      16      Picture of a Winchester Model 94 lever action rifle                   0076-0077
  9      17      “This Day in History, April 16: Virginia Tech                         0078-0080
                 Shooting Leaves 32 Dead,” www.history.com,
 10
                 April 2011
 11
 12
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                                                    - 23 -
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               EXH IBIT "1"




                                    Exhibit 1
                                      0001
       Case
11/18/2019       3:19-cv-01537-BEN-JLB Document     22-12
                                          Pregnant Florida momFiled 12/06/19
                                                              uses AR-15 to kill homePageID.281
                                                                                     intruder   Page 26 of 104




  NEWS



 Pregnant Florida mom uses AR-15 to kill home
 intruder
 By Joe Tacop ino                                                                                          November 4, 2019 I 12:0Sam I Updated




  Shutterstock


  A pregnant woman is credited with saving th e lives of her husband and daughter after she used an AR-15 to fatrally gun down a home
  intru der, a report said.

  The hero mom sprung into action when two intruders entered the family's Lithia , Fla . home last week and pistol whipped her husband while
  violently grabbing their daughter, according to the Hillsborough County Sheriff's Office.


  "They came in heavily hooded and masked," the husband, Jeremy King, told Bay News 9 .


  "As soon as they had got th e back door opened, they had a pistol on me and was grabbing my 11-year-old daughter."


  The robbers then pistol-whipped King and kicked him while the man's wife, who is eight months pregnant, retreated into the bedroom.


  "When he came toward the back door in her line of sight, she clipped him," King told the outlet. "He made it from my back door to roughly
  200 feet out in the front ditch before the AR did its thing."
                                                                      Exhibit 1
https://nypost.com/2019/1 1/04/pregnant-florida-mom-uses-ar-15-to-kill-home-intruder/                                                             1/2
                                                                        0002
11/18/2019
      Case      3:19-cv-01537-BEN-JLB Document    22-12momFiled
                                         Pregnant Florida        12/06/19
                                                           uses AR-15 to kill homePageID.282
                                                                                   intruder  Page 27 of 104
 Police said in a press conference that they found the man's dead body lying in the ditch nearby. The second suspect was on the loose.

 The homeowner said he took a "severe beating," but credited his wife for saving him.

  "I've got a fractured eye socket, a fractured sinus cavity, a concussion, 20 stitches and three staples in my head," said King.

 "Them guys came in with two normal pistols and my AR stopped it. [My wife] evened the playing field and kept them from killing me."

 The sheriff's office added that the firearm was in the home legally.



  FILED UNDER   FLORIDA, HOME INVASION




                                                                                                                        Recommended by




                                                                       Exhibit 1
https://nypost.com/2019/11 /04/pregnant-florida-mom-uses-ar-15-to-ki II-home-intruder/                                                   2/2
                                                                         0003
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               EXHIB IT "2"




                                    Exhibit 2
                                      0004
11 /1 8/2019
      Case 3:19-cv-01537-BEN-JLB Deputies:
                                  Document 30 round s fired from AR-15 in deadly Florida home in vas ion
                                                  22-12 Filed 12/06/19 PageID.284 Page 29 of 104
                                                                                                                         57°F

  WEATHER ALERJ        Weather Alert: 8 advisories in effect for 5 counties in the area



     NEWS

     Deputies: 30 rounds fired from AR-15 in deadly Florida
     home invasion
     Incident stemmed from ongoing feud between two groups, investigato rs say

     Garrett Pe li can , Digital executive producer
     Published : Apr. 17 2018, 7:16 pm
     Updated: Apr. 17 2018, 7 :20 pm

     Tags: Florida, Baker County, Weird News, News, Glen St Mary




     (Left to right: Bell, Watkins, Cayden Lauramore, Albino)


                                                                                    'f
      GLEN ST. MARY, Fla - Three men say they were asleep inside a mobile home in Glen St. Mary about 4 a.m . Sunday
     when they heard a voice outside yell "Sheriffs Office!" before the front door burst open .


      In stormed a masked gunman who fired off a single round before two of the men inside, one armed with an AR-15
      rifle and the other with a handgun, emerged from two bedrooms and opened fire.


      Gunfire ripped into the masked gunman and two other intruders, who crumpled to the floor with multiple gunshot
      wounds.

                                                                              Exhibit 2
https://www. news4jax.com/new s/201 8/04/17/deputi es-30-rou nds-fi red-from-ar-15-i n-deadl y-florid a-home-invasion/          1/3
                                                                                0005
11 /18/2019
       Case   3:19-cv-01537-BEN-JLB Deputies:
                                    Document        22-12
                                              30 rounds          Filed
                                                        fired from AR-1512/06/19         PageID.285
                                                                         in deadly Florida home invasion Page 30 of 104
    Those details surfaced Tuesday when the Baker County Sheriff's Office released an arrest report linked to this
    weekend's home invasion turned deadly triple shooting.


    Five people are charged in the case. Investigators suspect the home invasion escalated from an ongoing feud
    between two groups that was stoked by social media threats.


    The victims told deputies they acted in self-defense when they turned their guns on the intruders, with one of them
    estimating he fired over 30 rounds from an AR-15 before the threat was over.


    Afterward, the victims retreated to another part of the home before they dialed 911, according to the report. None of
    them was hurt during the shooting.


    The same cannot be said for the intruders, several of whom were inside a vehicle deputies intercepted as it sped
    away from the mobile home off County Road 125.


    One of them, Corey Lauramore, died of gunshot wounds to the head. An unidentified 16-year-old remains
    hospitalized, and a third suspect, William Lauramore, was treated and released to police.


    Investigators found a heavy amount of dried blood caked on the front steps of the home, a bloodstained mask with a
    bullet hole through it and a .380 caliber handgun lying nearby, the report said.


    They also recovered an AR-15 rifle and a 9MM handgun inside the home.


    The Sheriffs Office said the five individuals charged in the case were among a group of seven that went to the
    mobile home that morning to confront and fight the group staying there.


    William Laura more, 24; Joseph Albino, 24; Zachary Bell, 20; Christian Watkins, 19; and Cayden Lauramore, 15, are
    charged with home invasion . But additional charges are possible.


    Albino, Bell and Watkins provided conflicting details about their involvement in the shooting, but all three said they
    had no idea others in their group had brought weapons along, according to the report.




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      MOST LIKED V        NEWEST                                                                                  FOLLOW   C)   0 COMMENTS



               Guest

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https://www.news4jax.com/news/2018/04/17/deputies-30-rou nds-fired-from-ar-15-in-deadly-florid a-home-invasion/                              2/3
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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.286 Page 31 of 104




               EXH IBIT "3"




                                    Exhibit 3
                                      0007
      Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.287 Page 32 of 104

Man armed with AR-15 stops attack by neighbor in Oswego
POSTED 5:37 AM, FEBRUARY 27, 2018, BY NANCY LOO AND CHARLES HAYES, UPDATEDAT72:59PM, FEBRUARY 27, 2078




This is an archived article and the information in the article may be outdated. Please look at the time stamp on the story to see when it was last updated.




        Man armed with AR-15 stops attack by neighbor in Oswego




OSWEGO, Ill. --A man armed with an AR-15 rifle helped stop a knife attack during an argument in Oswego.


It happened on Monday at an apartment building on Harbor Drive.


 Police say it all began when someone with a knife attacked another person during an argument.


 Neighbor Dave Thomas, who witnessed the attack, went into his home, got his rifle and ordered the suspect to stop.


 "I ran back into the home, into my house and grabbed my AR-15. Grabbed the AR-15 over my handgun. It's just a bigger gun. I think a
 little bit more than an intimidation factor definitely played a part in him actually stopping."


 No shots were fired.


 The suspect was able to get away briefly, before police captured him.
                                                                             Exhibit 3
                                                                               0008
     Case victim
The stabbing 3:19-cv-01537-BEN-JLB
                  was taken to a hospital, andDocument
                                              is expected to22-12
                                                             recover.   Filed 12/06/19 PageID.288 Page 33 of 104

Police say Thomas has a valid firearm owner's identification card and a concealed carry permit. Thomas says he is also a firearms
instructor.


"The AR-15 is my weapon of choice for home protection," Thomas said. "It's light, it's maneuverable. If you train and know how to use it
properly, it's not dangerous. And this is just a perfect example of good guy with an AR-15 stopped a bad guy with a knife. And there
were no lives taken, so all in all it was a good day."




NEWS




Pregnant mom used AR-15 to kill burglar, save husband during home invasion


 NEWS




                                                              Exhibit 3
                                                                0009
Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.289 Page 34 of 104




               EXHIBIT "4"




                                    Exhibit 4
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11/18/20 19
      Case       3:19-cv-01537-BEN-JLB        Document
                              Texas Hero Reportedly           22-12
                                                    Used His Own        Filed the
                                                                 AR to Confront 12/06/19             Shooter I National
                                                                                              PageID.290
                                                                                  Sutherland Springs               Page    35 of 104
                                                                                                                        Review




   THE CORNER


  PO LIT ICS & PO LI CY




  Texas Hero Reportedly Used His Own AR to
  Confront the Sutherland Springs Shooter
  By DAVID FRENCH         I   Nove mber 6, 20 17 10:54 PM


  During today's press conference about the Texas mass shooting, the regional director of the Texas
  Department of Public Safety indicated that the Texas Good Samaritan, Stephen Willeford, engaged
  the Sutherland Springs shooter with his oWID. AR:

           He armed himself with an AR assault rifle and engaged the suspect. They engaged in gunfire here
           at the church. We know that the suspect was shot, when he dropped his assault rifle and jumped in
           his Ford Expedition and fled the scene.

  Given what we know from other reports, this makes a great deal of sense. After all, Willeford
  apparently fired with a great deal of precision. Here's am account from CNN, taken from an interview
  of his cousin:

           And what he did, according to his cousin, is exchange fire with the gunman, hitting him in the side
           and twice in the neck.

           "He saw that the guy was wearing body armor, and there was a velcro strap, from the back to the
           front," detailed Leonard, speaking live on Monday. "He knew from that . .. that the vulnerable spot
           was going to be in the side. And so that's where he shot him ."

   An AR is an easy-to-use, extraordinarily accurate weapon, and one can see how it would enable a
   surprised civilian to engage the shooter so quickly and effectively.

   We keep hearing that AR's are useless for self-defense, that they're simply "weapons of war," useful
   only for mass killing. This is simply not true. Ear1ieF this year, an Oklahoma man used an AR-15 to
   kill three home intruders, and multiple self-defense experts have long pegged AR-style rifles as their
   "home defense weapon af ch01ce." I have one in my own home, and I feel far more comfortable using
   it than even one of my handguns.

   While Willeford obviously didn't prevent the massacre, he did stop the shooter and prevented him
   from harming anyone else. He did so with exactly the kind of weapon that the gun control lobby
   would like to deny to law-abiding Americans. That's a fact worth noting.

                                                                     Exhibit 4
https://www.nationalreview.com/corner/texas-hero-reportedly-used-his-own-ar-co nfront-sutherland-springs-shooter/                      1/2
                                                                       0011
11 /18/20 19            Texas Hero Reportedly Used His Own AR to Confront the Sutherland Springs Shooter I National Review
      Case 3:19-cv-01537-BEN-JLB        Document 22-12 Filed 12/06/19 PageID.291 Page 36 of 104

   +..    RETURN TO THE CORNER


                 D.A.VlD FREN CH is a senior editor of The Dispatch. @davidafrench




                                                                     Exhibit 4
https://www.nationalreview.com/corner/texas-hero-reportedly-used-his-own-ar-confront-sutherland-springs-shooter/             2/2
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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.292 Page 37 of 104




               EXHIBIT "5"




                                    Exhibit 5
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                                           County deputy's         Filed
                                                           son shoots one of12/06/19
                                                                             two intruders - PageID.293
                                                                                             Houston Chronicle Page 38 of 104


                            https://www.chron.com/news/houston-texas/a rticle/H arris-Cou nty-deputy-s-son-shoots-one-of-two-1712908.php


            Harris County deputy's son shoots one of two intruders
            15-year-old and sister, 12, were alone when pair entered, so he got dad's rifle
            MI KE GLENN
            , HOUSTON CHRONICLE Published 5:30 am CDT, Wednesday, June 30, 2010
                   The teenage son of a Harris County deputy constable opened fire with his father's automatic rifle
                   Tuesday after burglars forced their way into the family's home, authorities said .


            The boy, 15, and his sister, 12, were alone about 2:30 p.m. when they heard glass breaking downstairs at the
            home in the 2600 block of Royal Place Court in northwest Harris County.


            The boy went downstairs with the rifle and spotted the two burglars in the living room.


            He fired several shots and struck one of the intruders, said Lt. Jeff Stauber with the Harris County Sheriff's
            Office.


            "He was concerned with protecting his younger sister - that's exactly what he did," Stauber said .


               Need 2 Know: Mayor Pete Surges in Iowa




                 BUTTIGIEG ON THE RISE
                 SOUTH BEND, INDIANA MAYOR TOPS LATEST IOWA POLL



            The suspect who was shot -- identified as Kinzy Evans, 17, -- was struck several times by gunfire. Police
            said his accomplice was a 16-year-old who they would not identify because he is a juvenile.


            Sheriff's investigators were tipped off when the suspected burglars quickly showed up at Methodist
            Wi llowbrook Hospital.


            "Anytime you get a gunshot victim in the hospital, they're going to notify law enforcement," Stauber said.




                                                                      Exhibit 5
https://www.chron .com/news/houston-texas/a rticle/Harris-County-deputy-s-son-s hoots-one-of-two-1 712908 .php
                                                                        0014                                                               1/2
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                                                                                               Houston Chronicle Page 39 of 104


            Evans was taken by Life Flight helicopter to Memor al lrfem1a nn-The Texas Medical Center in unknown
            condition.


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            Sheriff's deputies said the burglars came into the house after breaking out a window in the living room area.


            "They left the same way they came in - through the broken window," Stauber said .


            'A little shaken up'
            Family members at the scene declined to comment about the incident.


            "The main thing is that the kids are OK. They're a little shaken up," said a man who identified himself as the
            deputy constable's brother.


            Neighbors said several homes in the area also have been broken into during the daylight hours.


            "There have been a lot of robberies. It's good that they caught them," said Ushantha Kawmini, whose home
            down the street was burglarized about a month ago.


            Break-in concerns
            Another neighbor was concerned that the burglars would be brazen enough to break into a home belonging
            to a law enforcement officer.


            "Now they're doing it to the police officers . What about regular people?" said the neighbor.


            She identified herself only as Mary because she feared retaliation from other burglars .


            "I'm sure they (the suspects) have got friends," the neighbor said .


            The two have been charged with burglary of a habitation, officials said .


            m ike.g lenn@chron.com

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                                                                     Exhibit 5
https ://www.chron .com/news/houston-texas/a rticle/Harris-County-deputy-s-son-shoots-on e-of-two-1712908.php
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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.295 Page 40 of 104




               EXHIBIT "6"




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          NEWS    SPORTS   BUSINESS    OPINION   POLITICS    ENTERTAINMENT   LIFE   FOOD   HEALTH   REAL ESTATE   OBITUARIES Q.   -




   Elkins Park man killed after forcing his way into
   apartment
   by Sam Wood, PHILLY.COM, Posted: April 22, 2013




   An Elkins Park man was killed late Friday after he forced his way into a stranger's apartment in Cheltenham Township.

   Jasper Brisbon, 32, wandered up to a couple late Friday at the Lynnewood Apartments as the pair spoke outside their unit.
   Brisbon, they told police, appeared to be on drugs. He stared at the pair for several minutes before the couple decided to go
   into their apartment, police said.

   But as they entered their home Brisbon jumped between them, forcing his way in.

   The male of the couple ran to get a semi-automatic AR-15 rifle and insisted Brisbon leave. Brisbon refused. Instead, as the
   man yelled "Stop! Stop Stop!" Brisbon moved menacingly toward the man, police said.




    The man fired a shot striking Brisbon in the torso and immediately called 911, police said.

    An ambulance rushed Brisbon to Abington Memorial Hospital where doctors pronounced him dead. According to court
    records, Brisbon was awaiting trial on a charge of aggravated assault stemming from an incident in December.


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    Police said the residents of the apartment were cooperating with police, did not know Brisbon and that the AR-15 was legally
    purchased.

    Contact Sam Wood at 215-854-2796, @samwoodiii or samwood@phillynews.com



    Posted : April 22, 2013 -1:46 PM
    Sam Wood, PHILLY.COM




                                                            Never Miss a Story
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               EXHIBIT "7"




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                   Shooting deemed justifiable: Authorities say Zach22-12      Filed
                                                                     Peters acted      12/06/19
                                                                                  lawfully when he shot,PageID.298              I News 43
                                                                                                         killed three intrudersPage    I tulsaworld.com
                                                                                                                                             of 104




  https://www.tulsaworld .com/communities/wagoner/news/shooting-deemed-justifiable-authorities-say-zach-peters-acted-lawfully-
  when/article_ad 51c988-72d3-556f-be54-6c9404a5fbab.html


  Shooting deemed justifiable: Authorities say Zach Peters acted lawfully
  when he shot, killed three intruders
  By JOSH ALLEN Staff Writer Apr 3, 2017
                                                                                                                                                     1of3

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   First Assistant District Attorney Jack Thorp told reporters Zach Peters acted "lawfully;· within "his rights as an Oklahoma citizen;·
   when he shot and killed three masked intruders with an AR-15 inside his home after they broke in on Monday, March 27. JOSH
   ALLEN/AMERICAN-TRIBUNE




      Related content
      Audio: Listen to edited version of audio of the 911 call



      Alleged getaway driver in home invasion triple homicide reportedly knew man who shot 3 teens



      VIDEO: 911 call released: Man who fired AR-15 on teen intruders tells dispatcher 'I shot two of them'



      The latest: Friends in disbelief over deaths of three teens during home-invasion

                                                                       Exhibit 7
https://www.tulsaworld.com/commu nities/wagoner/news/s hooting-deemed-j ustifiable-authorities-say-zach-peters-acted-lawfu lly-when/article_ ad51 c988.. .   1/5
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                                                                                                         killed three intrudersPage    tulsaworld.com
                                                                                                                                           of 104
      Woman arrested after Broken Arrow-area man fatally shoots three intruders




  Wagoner County officials said Monday the 23-year-old who shot and killed three masked intruders inside his
  home on March 27 acted justifiably and would not be charged with any crime.

  At a press conference on Monday, First Assistant District Attorney Jack Thorp read an official letter from the
  DA's office, which said Peters "acted in accordance with his rights as an Oklahoma citizen."

   The DA's office sent the official letter declining to prosecute or pursue any charges against Peters to the
   Wagoner County Sheriff's Office on Monday, April 3.




   "Upon my review of his interview, it appears that he (Peters) was in fear for his life as he perceived the
   intruders and discharged his weapon at the intruders," District Attorney Brian Kuester states in the letter.

   Kuester concludes Peters acted in accordance with the Oklahoma statue entitled Physical or Deadly Force
   Against Intruder (21 O.S. 1289.25).

   "My deputies have worked tirelessly on this case ever since it happened to make sure we do a good job,"
   Wagoner County Sheriff Chris Elliott said Monday. "They've investigated this meticulously, diligently, and
   we've looked at every piece of evidence."

   Thorp said at Monday's press conference that Elizabeth Marie Rodriguez, 21, who was arrested for her ·
   involvement in the home invasion and subsequent deaths, has officially been charged with three counts of first-
   degree murder by the DA's office.

   The range of punishment for murder in the first degree, Thorp said, includes three possible punishments; death,
   life without the possibility of parole or life.

    She also faces a first-degree burglary charge and a second degree burglary charge, according to court records.

    "Like eve1y other jurisdiction in the country, we too have seen burglaries ... an increased number of burglaries
    happening in Wagoner County," Elliott said. "We are working diligently with other law enforcement agencies
    and the community to try and thwart these burglaries."
                                                                       Exhibit 7
 https://www.tulsaworld.com/communlties/wagoner/news/shootlng-deemed-Justifiable-authorities-say-zach-peters-acted-lawfu lly-when/article_ ad51 c988...   2/5
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                                                                                                       killed three intrudersPage    I tulsaworld.com
                                                                                                                                           of 104
  Rodriguez was arrested after she turned herself in to authorities shortly following the home invasion and
  shooting. She stated to investigators that she had "planned the robbery and drove the vehicle," according to
  authorities.

  On Thursday, she told reporters in an interview from the jail that she was sorry for her part in the crime,
  claiming she did not plan to kill any of them but did admit to her part in the robbery attempt.

  Jaykob Woodriff, 16, Jacob Redfearn, 17, and Maxwell Cook, 19, were wearing all-black and masks when they
  broke into Peters' home on Monday, March 27 around noon.

  After hearing loud noises that woke Peters, who was at the home alone at the time, he encountered the three
  intruders inside his home. Armed with an AR-15 assault rifle, Peters fired, killing all three.

  Authorities said one was armed with brass knuckles and another had a knife.

  "At the sheriff's office, we're very troubled by this. We don't want to see this in our county," Sheriff Elliott
  said. "But we support the right of our citizens ... the right to bear arms and to defend their homes in this
  county."

  "In this such, we feel strongly that that's what took place here," he continued. "We don't want to see this type
  of thing in our county, obviously, but we are also in the United States and in a state that affords our citizens the
  right to defend themselves."


  Within minutes of firing the shots, Peters called 911 and requested medical personnel for the wounded
  intruders, telling the dispatcher "one of 'em's shot bad."

  "Our condolences·are extended to the families (ofWoodriff, Redfearn and Cook)" Thorp said on Monday.

  Originally it was reported that Rodriguez may have personally known Peters, however, she confinned to
  authorities last week that "she had no connection" with him, according to Deputy Nick Mahoney, spokesman
  for the sheriff's office.

  After waiving her right to an attorney, Rodriguez told investigators Wednesday that "she did not know Zach
  Peters," but said she "indirectly became aware of Peters' father."

  "She said she determined Peters had money and expensive belongings, and that was why she selected his home,
  to 'hit a lick,"' Mahoney said.




                                                                     Exhibit 7
https://www.tulsaworld.com/communities/wagoner/news/shootlng-deemed-justlfiable-authoritles-say-zach-peters-acted-lawfully-when/article_ad51c988...     3/5
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  "Hit a lick," Mahoney explained, "is a term some criminals use to describe getting a significant amount of
  money in a short period of time."

  An arrest affidavit had previously indicated that Rodriguez "had previous knowledge of the house and the
  homeowner."

  After Peters shot the intruders, who had broken in through a back glass door, two of them died inside, while
  one made it out to the driveway before collapsing.

  Rodriguez told investigators that, after she heard shots fired, the injured suspect who ran outside tried to get
  back into her vehicle, but she said she drove away, leaving him in the driveway, Mahoney said.

  Rodriguez also told investigators that she and the three deceased suspects had went to the residence prior to the
  shooting and burglarized a spare apartment on the property. She said they then returned later to burglarize the
  main house, Mahoney said.

  Another witness contacted authorities last week with alleged additional information regarding the home
  invasion, according to Mahoney.

  "Investigators have made contact with her and are currently in the process of talking with her," Mahoney said
  last week.

  Though specific details about what she knows about the case were not revealed, he said investigators were
  "taking her seriously."

  "She is a witness, not a suspect," Mahoney clarified.

  Her name is not being released at this time. At Monday's press conference, authorities did not comment on her
  involvement or the information she may have provided to investigators, but Sheriff Elliott said she was a
  juvenile.

   "We're not going to release any information on that," Elliott said referring to the witness, who may have been
   in the back seat of the car that Rodriguez drove to the residence prior to the home invasion. "This case is still
   an open investigation."

   Rodriguez will go before Associate District Judge Dennis Shook on April 5 for an initial appearance hearing.




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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.302 Page 47 of 104




               EXHIB IT "8"




                                    Exhibit 8
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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.303 Page 48 of 104
    About .223 Penetration




   Detailed Information Regarding Penetration Of .223 Ammunition
   by R.K. Taubert
   About the author: A recently retired FBI Agent with over 20 years experience in SWAT and
   Special Operations, he conducted extensive counter-terrorism and weapons research while in
   the Bureau.

   Reprinted and edited with permission.

   Close Quarter Battle Reputation
   Several interesting but inconclusive articles examining the feasibility of the .223 caliber, or
   5.56x45mm round, for COB events, such as hostage rescue and narcotics raids, have recently
   been featured in a variety of firearms and police publications. However, for more than 20 years,
   conventional law enforcement wisdom generally held that the .223 in any configuration was a
   deeply penetrating round and, therefore, totally unsuited for COB missions in the urban
   environment. Partly because of this erroneous, but long held perception, and other tactical
   factors, the pistol caliber submachine gun (SMG) eventually emerged as the primary shoulder
   &quot;entry&quot; weapon for the police and military SWAT teams.

   Although new revelations about the .223 are beginning to slowly circulate throughout the
   Special Operations community, a number of law enforcement agencies are in the process of
   acquiring the next generation of &quot;advanced&quot; SMGs in 1Omm and .40 S&W calibers.
   Could they and the public be better served by a .223 caliber weapons system and at less
   expense? Please read on and judge for yourself.

   FBI Ballistic Tests
   As a result of renewed law enforcement interest in the .223 round and in the newer weapons
   systems developed around it, the FBI recently subjected several various .223 caliber projectiles
   to 13 different ballistic tests and compared their performance to that of SMG-fired hollow point
   pistol bullets in 9mm, 1Omm, and .40 S&W calibers.

   Bottom Line: In every test, with the exception of soft body armor, which none of the SMG fired
   rounds defeated, the .223 penetrated less on average than any of the pistol bullets.

   These tests were conducted by the FBl's Firearms Training Unit (FTU), at the request of the
   Bureau Tactical and Special Operations personnel. Located at the FBI academy in Quantico,
   VA, this is the same unit with the encouragement of forensic pathologist Dr. Martin Fackler and
   other ballistic experts, that dramatically advanced the testing of modern handgun rounds to
   estimate their wounding effectiveness and potential lethality. Ultimately, this entity confirmed
   that permanent crush cavities, or &quot;wound-channels,&quot; and deep penetration were the
   primary factors for handgun-fired projectiles. The FTU further determined that under various
   target engagement circumstances, a depth of penetration in soft tissue of between 12 to 18
   inches was required for a handgun bullet to be effective.

   Equipment Employed I Rounds Tested
   For these series of tests the following firearms, ammunition and equipment were employed:




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                                              Exhibit 8
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   About .223 Penetration




   • Sealed, match grade test barrel to determine 25 yard, 10-shot group accuracy and 20-round
   velocity potential.
   • 20&quot; barreled, M16A1 rifle to stabilize and test rounds ranging from 40 to 55 grains in
   weight.
   • 20&quot; barreled, M16A2 rifle to stabilize and test rounds ranging from 62 to 69 grains in
   weight.
   • Oehler Model 85 chronograph.
   • Ransom type rifle rest, with laser bore sighting.
   • Numerous blocks of Kind and Knox 250-A, 10% gelatin, to simulate living tissue.
   • Federal's 40-grain &quot;Blitz&quot; hollow point, 55-grain soft point and 69-grain hollow
   point; 9mm 147-grain Hydra-Shok, 10mm and .40 S&W 180-grain, jacketed hollow points.
   • Winchester's 55- and 62-grain full metal case, NTO-military spec. rounds.

   As indicated, both rifles were fired from a mechanical rest. Ten-shot groups and 20-round
   velocity tests were fired for each round. 13 penetration tests were conducted. 95 rounds were
   fired for each type of round tested. A total of 760 rounds were tested and recorded for this
   project.

   Test Protocol
   Tests 1-6:
   Bare gelatin, heavy clothing, automobile sheet metal, wallboard, plywood, and vehicle
   windshield safety glass, were shot a distance of 10 feet from the muzzle. The vehicle safety
   glass was set at an angle of 45 degrees to the horizontal, with the line of bore of the rifle/SMG
   offset 15 degrees to the side resulting in a compound angle of impact for the bullet upon the
   glass, which simulates a shot directed at the driver of a car closely missing the shooter.
   Furthermore, the gelatin was covered with light clothing and set back 18 inches behind the
   glass. All gelatin blocks, with the exception of the body armor barrier, were set 18 inches behind
   each solid obstacle shot.

   Tests 7-13:
   All involved shots through heavy clothing, safety glass and bare gelatin at 50 to 100 yards,
   concluding with internal walls, external walls and body armor at 10 feet. Test eight however,
   involved safety glass at 20 yards, shot dead-on, without the 15 degree offset, to simulate a shot
   at a car's driver bearing down on the shooter.

   For the connivance of the reader, test results are summarized in the following chart. Please
   note that the data displayed represents the average penetration of these rounds as measured in
   10% ballistic gelatin (see tables 1 and 2).

   Considering that the average person's torso is 9 inches thick, front to back, all the .223 rounds
   ranging in weight from 55 to 69 grains appear to be adequate performers on soft targets where
   frontal shots are involved. Although the majority of target engagements are frontal, profile shots
   can and do occur. A .223 round that is required to pass through an arm before entering the rib
   cage mat, upon striking bone, fragment, and while possibly shattering the appendage, would
   most likely not be successful in producing a sufficiently deep body cavity wound to be decisive.
   In this, as with any CQB encounter, &quot;controlled pairs,&quot; or rapid-repeat hits may be



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   required to ensure target neutralization.

   Defeating Ballistic Garments
   Soft body armor appears to have little effect on the calibers ability to penetrate and actually
   seemed to enhance the 40-grain Blitz's depth of penetration in soft tissue.

   From a law enforcement standpoint, the ability of the .223 caliber round to defeat soft body
   armor, military ballistic helmets and many ballistic shields is a &quot;double-edged
   sword.&quot; The criminal use of body armor is rare, but increasing. Possessing the ability to
   penetrate and adversary's protective vest is obviously desirable. However, this round will also
   defeat law enforcement vests, so great care must be exercised in laying out and observing
   fields of fire in training and during operations. With this concern over potential fratricide in mind,
   voices have been raised in some quarters regarding this bilateral tactical attribute. A number of
   veteran officers strongly embrace The traditional concept that a department's duty rounds
   should not exceed the capabilities of their vests. Arguably, this is a sound approach for any law
   enforcement agency to take for its non-tactical response personnel. However, SWAT, because
   of its specialized missions, may be a different matter and this later concern, while important,
   should not dominate the rationale supporting weapons selection by highly competent tactical
   units.

   Although it has been reported that less that 1% of all serious crimes involve long guns and less
   than 8% of long gun related crimes involve rifles, law enforcement is being confronted more
   frequently by criminals with weapons and munitions that are capable of defeating all but the
   heaviest ballistic protection. The FBl's Uniform Crime Reporting Section indicates, for example,
   that rifles were involved in 13% of the assaults on police officers during 1992. The incident a
   Waco, Texas, is a recent example of this problem. For forced entry teams, the need for higher
   levels of ballistic protection is essential.

   For safe training of specialized law enforcement teams, the development of a lead-free, low
   penetration, short-range 5.56mm/.223 caliber training round that will (1) not penetrate ballistic
   vests and helmets, (2) destroy &quot;shooting house&quot; walls, (3) crater, or perforate
   steel-reactive targets, is extremely important. Fortunately, it appears that private industry is
   responding to these demands and such munitions are currently being developed.

   Vehicle Interaction
   With the exception of the full metal case and the 69-grain JHP rounds, it appears inadvisable to
   select lighter weight, soft or hollow point versions of this caliber when automobiles are likely to
   be engaged during planned raids and arrests. Penetration against automobile windshield safety
   glass is generally very poor and is only slightly better on sheet steel. Although terrorists from the
   insurgent New Peoples' Army were able to blast their way through an armored limousine in the
   Philippines and murder a highly regarded U.S. military official with concentrated M-16 rifle fire,
   the SMG-fired pistol round demonstrates at least a theoretical, if not practical, edge against
   such hardened targets.

   Interestingly, while penetration on auto glass and sheet steel is marginal, .223 projectiles will
   readily perforate and breach mild steel such as standard pepper poppers, that pistol rounds will



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   only slightly dimple. However, very little of the .223's mass is retained, so after defeating mild
   steel, significant wound potential is severely diminished upon exit.

   Barriers and Structures
   The Bureau's research also suggests that common household barriers such as wallboard,
   plywood, internal and external walls are also better attacked with pistol rounds, or larger caliber
   battle rifles, if the objective is to &quot;dig out&quot; or neutralize people employing such object
   as cover or concealment. Although it is usually not advisable to fire at targets you can't see in
   urban settings, it is done and some subjects have been stopped in this manner. Conversely, the
   ability of some pistol rounds to penetrate barriers tested puts innocent bystanders and fellow
   team members at greater risk in CQB scenarios. If an operator misses the intended target, the
   .223 will generally have less wounding potential than some pistol rounds after passing through a
   wall or similar structure. The close range penetration tests conducted indicated that high
   velocity .223 rounds were initially unstable and may, depending on their construction,
   disintegrate when they strike an object that offers some resistance. When concrete, brick or
   macadam are struck at an angle at close range, .223 rounds tent to fragment or break up, and
   ricochets are generally less hazardous. The .223 could consequently be considered safer for
   urban street engagements, because of its inherent frangibility within the cross-compartments
   created by street environments. In other words, in most shootings, the round would probably
   strike something, hopefully a hard object, break up and quickly end its potentially lethal
   odyssey.

   As a point of interest, the rifled shotgun slug, while not possessing the .223's flat trajectory, is
   still capable of attaining a maximum range of 900 yards. This fact illustrates that any errant law
   enforcement round regardless of caliber, or maximum range, is potentially dangerous to the
   community .

   •223 Wounding Characteristics
   Ballisticians and Forensic professionals familiar with gunshot injuries generally agree that high
   velocity projectiles of the .223 genre produce wounds in soft tissue out of proportion to their
   calibers, i.e. bullet diameter. This phenomenon is primarily attributed to the synergistic effects of
   temporary stretch cavity (as opposed to the relatively lower velocity stretching which typifies
   most pistol rounds) and bullet fragmentation on living tissue.

   Distinguished forensic pathologist Dr. Martin L. Fackler, observed when he was conducting
   wound research for the U.S. Army several years ago (&quot;Wounding Patterns of Military
   Rifles,&quot; International Defense Review, Volume 22, January, 1989), that in tissue simulants
   such as ballistic gelatin, , the 55-grain, M-193 military bullet lost stability, yawed (turned
   sideways) 90 degrees, flattened and broke at the cannelure (groove around the bullet into which
   the cartridge case is crimped) after penetrating about four to five inches. The forward portion of
   the bullet generally remained in one piece, accounting for 60% of its originally weight. The rear,
   or base portion of the bullet, broke into numerous fragments that may also penetrate tissue up
   to a depth of three inches. Dr. Fackler also noted that a relatively large stretch cavity also
   occurred, violently stretching and weakening tissue surrounding the primary wound channel and
   its effect was augmented by tissue perforation and further weakening by numerous fragments.
   An enlarged permanent cavity significantly larger than the bullet diameter resulted by severing



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   and detaching tissue pieces. However, as the range increases, the degree of bullet
   fragmentation and temporary cavitation decreases because terminal velocity diminishes. At 100
   meters, Fackler observed that the bullet, upon penetrating tissue, breaks at the cannelure,
   forming two large fragments. However, beyond 200 meters, it no longer looses its integrity,
   although flattening continues to somewhat occur out to 400 meters.

   In his study, Fackler remarked that in abdominal shots, &quot;There will be increased tissue
   disruption (beyond the bullet diameter wound channel) from the synergistic effect of the
   temporary cavitation acting on tissue that has been weakened by bullet fragmentation. Instead
   of observing a hole consistent with the size of the bullet in hollow organs such as the intestines,
   we typically find a void left by missing tissue up to three inches in diameter.&quot; However,
   &quot;unless a extremity (peripheral hit) is sufficiently thick like a thigh, or the bullet does not
   strike bone, the round may pass through an arm for instance, causing little damage from a
   puncture type wound.&quot;

   Regarding NATO's 62-grain FMC M-855 (88109) .223 caliber round Dr. Fackler observed that
   the bullet produces a wound profile similar to the M-193's, particularly where abdominal or thigh
   wounds were involved. Other sources indicate this bullet, with a [steel] core penetrator, exhibits
   10% greater fragmentation and retains its ability to fragment at slightly longer ranges than the
   55-grain military bullet. [Keep in mind that the M-855 round, because of its steel core, has a
   length comparable to a 73-grain lead core bullet, and should be shot out of longer barrels (18+
   inches) with tighter twists in order to retain good practical accuracy]

   Hollow and soft point bullets in this caliber can be expected to upset and fragment much sooner
   and more consistently that full metal case (FMC) bullets. In light of this more consistent
   performance, Fackler recommends hollow points over &quot;ball&quot; ammunition for police
   use, providing the HP bullet penetrates deep enough to disrupt something vital. However, in his
   candid opinion the most effective round currently available for law enforcement operations is the
   64-grain, Winchester-Western, pointed soft point, currently referred to as &quot;Power
   Point&quot;. This bullet has a heavier jacket than those tested by the FBI, resists
   hyper-fragmentation, penetrates well and &quot;expands like a .30 caliber rifle round.&quot;
   Subsequent FBI tests of this round fired from Colt's 14.5-inch barreled Mk-IV carbine bore this
   out and bullet expansion was &quot;impressive.&quot;

   Dr. Fackler also advised that the synergistic effects of fragmentation and high velocity
   temporary cavitation cannot be scientifically measured in gelatin because that medium is too
   elastic. More Accurate results can be obtained by examination of fresh animal tissue soon after
   it is shot.

   Range Limitations
   Federal's Blitz round, because of its very high velocity, low weight and frangible construction,
   demonstrated extremely poor overall penetration in the FBI tests. If it is considered for CQB
   use, it should be fired from ultra-short barreled weapons, such as Heckler & Koch's, 8.85-inch
   barreled HK-53. Shorter barrels would bleed off excessive velocity to reliably fragment and
   produce good temporary stretch cavities at close range. Because of this velocity loss, the
   maximum effective range on personnel would most likely be 100 yards or less. To ensure that



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   .223 caliber bullets perform as previously described by Dr. Fackler, it appears that a minimum
   target striking velocity of 2,500 feet per second (fps) is required. Bullets over 50 grains in weight
   may not accelerate to this critical velocity in barrels less than 1Oto 11 inches in length. Tactical
   teams should therefore carefully select the appropriate barrel length for their CQB weapon, to
   ensure that the round they employ will deliver minimum terminal ballistic velocities at the ranges
   desired and balance it against maneuverability requirements [Also remember that dr. Fackler's
   data is based on the FMJ ball ammo results and that hollow point ammunition will be as
   effective with lower velocities]
   &quot;Bull pup&quot; configured carbines, such as the Steyr AUG, enjoy a distinct advantage
   here, because they retain long barrel lengths with relatively compact overall dimensions and are
   as flexible as an SMG in confined areas. In fact, a Steyr AUG compares favorably to H&K's
   MP5-SD SMG in overall length and with a 16-inch barrel, is only an inch longer overall than a
   14-inch barreled Remington 870 raid shotgun.

   [At this point, Mr. Taubert's article goes into extreme range shooting and barrel length. His
   suggestion is to have a barrel at least 14-18 inches long for CQB use as this allows for useful
   terminal ballistics at around 150-200 yards with 60+ grain bullets. I disagree with Mr. Taubert's
   point of view for the simple fact that we are discussing Close Quarters firearms, and not long
   range sniping firearms. In these instances, a barrel length of 6-10 inches is practical for entry
   team use as it allows for greater maneuverability and acceptable ballistic performance with
   55-grain hollow point ammunition. Also, a lot of Mr. Taubert's information is based off of Dr.
   Fackler's research using FMJ ammunition. Most of my information is based upon real-world
   shootings and actual testing of commercial ammunition in short barreled firearms designed for
   this application.]

   A recent review of major U.S. ammunition manufacturers' pricing indicates that commercially
   loaded .223 ammunition is slightly less expensive than similarly configured premium hollow
   point pistol ammunition. With millions of rounds of surplus military .223 ammunition possibly
   available to law enforcement, because of numerous base closures and through low cost
   channels, training with this caliber could be highly cost effective.

   The .223 carbine is able to satisfy both close and intermediate range requirements and presents
   a good argument for eliminating the necessity for the law enforcement SMG. This one-gun
   concept will not only stretch departmental funds in this respect and reduce training
   requirements, but in some cases the difference in price between a single-fire carbine and a
   select-fire SMG often amounts to several hundreds of dollars. The need for full automatic fire
   with the M-16 carbine is debatable and two single-fire versions can often be purchased by
   police agencies for the cost of one top-of-the-line SMG. [This is a fact that I have been
   preaching for a long time. Another fact that Mr. Taubert does not touch on is that the
   M-16/AR-15 family of rifles use a split receiver system that allows the rapid exchange of
   differently configured uppers. This allows one officer to carry a 16&quot; CAR-15 in is patrol
   vehicle as his secondary firearm, and a 6&quot; upper receiver unit in his trunk for tactical entry
   use]

   As a result of contemporary research, such as that conducted by the first FBl's Wound Ballistic
   Workshop, some law enforcement agencies have expressed the opinion that concerns about



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   pistol bullet over penetration were exaggerated. They cite the toughness and flexibility of the
   human skin in resisting bullet exit and the fact that police officers historically missed their
   intended targets most of the time in actual shootings. While poor hit ratios and over penetration
   may not be critical to some for individual gun battles that occur in the street, these
   marksmanship realities can become real planning and safety concerns when establishing fields
   of fire during raids, hostage rescues and other tactical operations.

   Typically, these operations involve confined areas, where officers occupy positions in close
   proximity to each other. In close combat operations, every round expended must be accounted
   for. It is imperative that that rounds fired hit their intended targets and not pass through them to
   endanger other officers and innocent bystanders. If misses occur, it is desirable that once the
   stray round strikes a solid object, it expends its energy and disintegrates into relatively harmless
   pieces. If deep, barrier penetration is necessary, special ammunition or projectiles [or weapons]
   possessing this attribute can be selected.

   Shootout Results
   It was late in the morning on a hot July day in 1993, when members of a major Western cities'
   police tactical unit executed a search and arrest warrants in connection with a narcotics raid on
   a &quot;biker residence.&quot; The tactical officers were armed with Sig-Sauer 9mm P-226
   pistols and 16-inch barreled Steyr AUG .223 caliber carbines with optical sights. The Steyr,
   loaded per SOP, with 28 Federal 55-grain HP rounds was the primary entry weapon for several
   officers on the team. Steyr carbines were selected for this raid, because the team leaders
   anticipated shots &quot;out to 25 yards.&quot;

   The team was required to knock and announce, effectively negating the element of surprise.
   Approximately 92 seconds into the raid, the officer involved in the following shooting incident
   was in the process of cuffing a subject when two Rottweiler dogs attacked. While the other
   officers were dealing with the dogs by employing QC aerosol, a 6-foot-tall, 201-pound subject,
   high on &quot;speed&quot;, suddenly burst into the room occupied by the police through a
   locked door and leveled a 9mm pistol at one of the tactical officers. The distance between the
   adversaries was approximately 20 feet. With his back essentially to the subject, the involved
   officer acquired the threat in his peripheral vision, whirled around and commanded,
   &quot;Police, put your hands up,&quot; while clearing the Steyr's safety and mounting the
   weapon. The subject then shifted his pistol, held by one hand in a bladed stance, towards the
   reacting officer. In &quot;less than a second&quot; the subject's hostile action was countered by
   the officer by firing two fast, sighted, tightly controlled pairs, for a total of four rounds at the
   subject. Rounds one and two missed, but were contained by the structure. Round three
   connected, penetrated and remained in the subject. Round four grazed his upper chest and
   exited as he spun and fell. Round three was quickly effective. The collapsing subject ceased all
   motor movement and expired within 60 seconds. The involved officer was aware of each round
   fired and simultaneously moved to cover. Tactical members were then confronted by a female
   accomplice armed with a double-barreled shotgun. However, the involved officer also
   successfully negotiated her surrender. All .223 rounds that missed the subject struck parts of
   the building's internal structure, fragmented and remained inside.

   When the autopsy was performed, the forensic pathologist was amazed at the degree of



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   internal devastation caused b the .223 round. There was a two-inch void of tissue in the chest,
   with a literal &quot;snowstorm&quot; of bullet fragments and secondary bone fragments
   throughout the upper left chest area. The round struck the subject 11 inches below the top of his
   head and inflicted the following wounds:
       - Penetrated the top of the left lung, left carotid and subclavian arteries.
       - The collar bone and first rib were broken. Cavity measured 5x6 centimeters.




   What is significant about this &quot;instant one-shot stop&quot; was that the round did not strike
   the subject at the most effective or optimum angle and did not involve any direct contact with
   the heart or central nervous system. It is doubtful that this type o terminal ballistic performance
   could have been achieved by any of the police service pistol/SMG rounds currently in use.

   Although this is only one incident and could be an aberration, police tactical teams require this
   type of terminal ballistic performance to enhance their safety and survival particularly during
   CQB engagements, when criminals most often enjoy a positional and action-versus-reaction
   time advantage.

   The FBI study clearly demonstrates the following: (1) that .223 rounds on average, penetrate
   less than the hollow point pistol rounds evaluated, (2) concern for over penetration of the .223
   round, at close range, has been greatly exaggerated, (3) with the exception of soft ballistic
   garment penetration, the .223 round appears to be relatively safer for employment in CQB
   events than the hollow point bullets tested.

   Observations and experience indicate that high velocity rifle bullets generally produce more
   serious wounds in tissue than pistol bullets, regardless of range.

   Violent temporary cavitation, in conjunction with bullet yaw and fragmentation, are essential
   wounding components for high velocity rifle projectiles.

   As range and bullet stability increases and velocity decreases, rifle caliber wound severity
   decreases and penetration increases.

   Where soft target penetration requirements exist and over penetration concerns are prevalent,
   police should employ hollow point bullets in this caliber.

   Full metal case or heavier soft point bullets may be more appropriate for hard target penetration
   in this caliber.

   The .223 and the current carbine systems available for it are highly versatile and well suited for
   urban as well as rural operations. However, because of enhanced terminal ballistic
   performance, rifles are recommended if targets are expected to be engaged beyond 200
   meters. [The .223 round itself should not be used in law enforcement applications at any ranges
   outside of 300 yards/meters. Long distance shots should be left to highly trained sniper units
   using medium caliber center fire rifle ammunition. e.g.. 308/7.62 NATO. Also, the majority of



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   police sniper shots occur within 100 yards/meters.]

   The ability to train with one shoulder weapon and caliber for both COB and open air options
   simplifies logistics and training , makes training more effective and is cost effective. [Again, one
   upper for general, secondary weapon usage, and one upper for COB]

   Under current pricing, police agencies can realize significant savings by purchasing single-fire
   carbines instead of select-fire machine guns.

   Because of the &quot;political&quot; considerations and perhaps the concern over the
   possibility of more serious injuries caused by errant &quot ;friendly fire,&quot; the highly versatile
   and powerful .223 carbine may not be a suitable COB firearm for some departments. However,
   if the above factors are not involved , the .223 carbine is an extremely flexible and effective
   anti-personnel weapon with, in many cases, handling characteristics actually superior to many
   contemporary SMGs. It offers the advantages of reduced logistics, lower costs and reduced
   training time when compared to agencies employing multiple specialty weapons. The caliber in
   its current offering is far from perfect, but in spite of some shortcomings, I anticipate that in the
   future it will eventually replace pistol caliber SMGs in many police departments and law
   enforcement agencies.


   It has been a recently growing trend to see law enforcement departments exchanging their
   issue shotguns for the police carbine in 9mm, .40 S& W, and .45 ACP. And many departments
   have found that these carbines do not serve their needs as they expected. However, they are
   fearful to switch, or in many cases purchase, .223 carbines because &quot;they will go through
    1O people and 3 city blocks before they stop!&quot; As you can see, this is not the case, and is
   in fact, completely the opposite. I hope that this article helps to clear all false truths and
   misnomers about this very versatile and serviceable cartridge.

   ALL OF THE INFORMATION IN THIS ARTICLE IS BASED UPON THE
   PERSONAL EXPERIENCE OF INDIVIDUALS WHO MAY BE USING SPECIAL
   TOOLS, PRODUCTS, EQUIPMENT AND COMPONENTS UNDER PARTICULAR
   CONDITIONS AND CIRCU MSTANCES, SOME OR ALL OF WHICH MAY NOT
   BE REPORTED , NOR OTHERWISE VERIFIED IN THIS ARTICLE. NOTHING
   HERE IN IS INTENDED TO CONSTITUTE A MAN UAL FOR THE USE OF ANY
   PRODUCT OR THE CARRYING OUT OF ANY PROCEDURE OR PROCESS.
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               EXHIBIT "9"




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    Real World .223 Testing




   .223 I 5.56 Penetration Tests vs .



   .40 S&W and 12 ga.D Slugo



   Overview
   The research on the penetration of .223 ammunition has been completed. In an effort to make
   research more meaningful, testing consisted of handgun and shotgun ammunition in the same
   testing medium. The final results were that the .223 demonstrated less penetration capability
   than the 12 gauge slug and the .40S&W [handgun round].




   Testing Medium
   Type 250A Ordnance Gelatin was cast into blocks, 6&quot;x6&quot;x16&quot;. The process
   used is that which is recommended by Col. M. Fackler, Director of the US Army Wound
   Ballistics Laboratory. This is a 10% mixture, 1Kg of gelatin to 9000ml of H20. This type of
   gelatin accurately simulates human body tissue in terms of bullet penetration.




   A small piece of wall was constructed to duplicate the standard exterior walls found in [the
   Pacific Northwest] area. This piece of wall was sheeted with %&quot; wafer board, covered with
   a 2nd piece of %&quot; wafer board to simulate siding. This wall was built using a 2x4 frame
   and finished on the inside with %&quot; sheet rock. The interior [of the wall] was lined with
   fiberglass insulation.




   Weapons Used
   CAR-15, cal .223 Rem./5.56x45mm with a 16&quot; barrel.
   Glock M22, cal .40S&W.
   Remington 870, 12 ga.




   Ammunition Used
   Federal .223 Remington, 55 grain HP.
   Winchester .40S&W, 180 grain HP.
   Federal 12 ga., 2 %&quot;, rifled slug.




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   Real World .223 Testing




   Procedure
   All rounds were fired from a distance of 12 feet. After each round was fired, its penetration was
   recorded and bullet performance noted. After a bullet was fired into the [bare] gelatin, another
   bullet of the same type was fired through the section of wall and into the gelatin. This was done
   in order to determine its penetration potential in the event a stray round were to hit the wall of a
   building.




   Results

   Caliber                    Testing medium           Penetration             Condition of bullet
    .223 Rem.                 gelatin only            9.5&quot;                two pieces
    .223 Rem.                 wall & gelatin          5.5&quot; *              fragmented
    .40S&W                    gelatin only             13.5&quot;              mushroomed
    .40S&W                    wall & gelatin           22&quot; *              no deformation
    .40S&W                    wall & gelatin           22&quot; *              no deformation
    .40S&W                    wall & gelatin           19.5&quot; *            slight deformation
    12 ga.                    wall & gelatin           27.5&quot;              mushroomed
   * these measurements      do not include penetration of the 6&quot; wall.
   CCI Gold Dot.

   Summary
   The 55 grain HP .223 has less penetration than any of the other ammunition tested. Based on
   the results of this testing, there appears to be no basis for concern regarding the over
   penetration of the .223 [HP] round. In fact, it seems even safer in this regard than .40 S&W
   handgun ammunition.




   The hollow point cavity in the .40S&W round filled with material when shot through the wall. This
   caused [these bullets] to fail to expand when they entered the gelatin. As a result, they
   penetrated 8.5&quot; farther than when shot directly into the gelatin.




   When the .223 [HP] was shot through he wall it began to fragment and as a result penetrated
   the gelatin only 5.5&quot;.




   Because the .223 [HP] begins to break up on impact, it has less potential for damage or injury
   than the 12 ga. in the event of a ricochet. The .223 [HP] is obviously safer in an urban
   environment than the 12 ga. with slugs or buckshot.




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                                                 Exhibit 9
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   Real World .223 Testing




   Additional testing conducted proved that the .223 would penetrate a car door or glass. The .223
   rounds fired into windshields began to break up after entering the glass and did not retain much
   energy. In most cases these rounds split in two.




   The Call-Out Bag



   by Gunsite Training Center Staff



   A Comparison of .223 Penetration vs. Handgun Calibers



   The .223 shoulder-fired weapon systems (e.g., AUG, CAR) have received some recent interest
   as indoor tactical weapons for special operations teams. increased power, longer effective
   distances, and greater tactical flexibility have been cited as positive factors of the .223 systems
   over 9me SMG-type weapon systems. Other authors (Fackler, et all) have postulated greater
   capability for tissue damage and incapacitation of the .223 rifle cartridge over the 9mm projectile
   fired from handguns or SMGs. Negative considerations for the indoor use of the .223 weapon
   systems focus on over-penetration of projectiles and possible subsequent liability.




   Our effort was made to compare the penetration characteristics of various .223 bullets to
   various handgun bullets fired into test barriers representing indoor and outdoor building walls.
   We felt that the following test might mimic shots fired from inside a building, through the internal
   rooms, out the exterior wall, and into another similar building nearby. A comparison of wall
   penetration effects by a variety of handgun calibers versus the effects of .223 FMJ ball, .223
   SP, and .223 HP, under these same conditions, was expected to substantiate other findings
   reported or provide new information to those interested in this area of ballistics.




   Two interior test walls were constructed using a wood 2x4 frame with standard drywall board
   attached to both sides. Two exterior test walls were made using wooden frames with drywall
   board attached to one side and exterior grade T1 -11 wooden siding attached on the other
   (exterior) side. R-19 fiberglass insulation batting (Dow Coming) was stapled inside the two
   exterior test wails. To maintain test medium consistency, no wooden cross beams, electrical



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   Real World .223 Testing




   fixtures, conduits, or electrical wiring were placed in any of the test walls.




   The test walls were placed in the following sequence to mimic shots fired from. inside a building,
   through two internal rooms, out the building, and into another similarly constructed building:




   A. Interior wall #1 was placed 8 feet from the shooting position.




   B. Interior wail #2 was placed 8 feet beyond interior wall #1.




   C. Exterior wall #1 was placed 8 feet beyond interior wail #2. (Exterior side facing away from the
   shooter.)




   D. Exterior wall #2 was placed 15 feet beyond exterior wall #1. (Exterior side facing toward the
   shooter.)




   All calibers tested were fired from a position 8 feet in front of interior wall #I, so the bullet
   trajectory would travel in sequence through each of the succeeding test walls. Each caliber
   tested was chronographed and all firing results were videotaped for archive files.




   The following results were obtained:


      1. All handgun calibers exited exterior wall #1. This means they exited the
   &quot;house&quot; after passing through two interior &quot;rooms,&quot; then entered another
   &quot;house&quot; to impact into the berm. The handgun caliber which demonstrated the least
   penetration was .22 LR Lightning.
      2. The only calibers which did NOT exit the &quot;house&quot; were .223 (5.56) soft point
   and hollow point loaded bullets.
      3. All projectiles demonstrated directional changes in their trajectory after passing through
   the first interior wall. The greatest directional changes (1 O inches+ yaw) were shown by 9mm
   and .40 S&W projectiles.
      4. Directional changes in bullet trajectory appeared to increase in magnitude with each test



                                                                                                       4/6
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   Real World .223 Testing




   wall the projectile passed through.




   The penetration characteristics of projectiles have long been believed to be primarily determined
   by a relationship of bullet mass, bullet shape, bullet velocity, and bullet construction. The
   penetration differences of .223 soft point and hollow point projectiles versus the effects from
   .223 full metal jacket may be due to differences in bullet construction. The differential effects on
   penetration due to bullet construction shown with the .223 are different and appear greater in
   magnitude than those encountered when handgun bullet construction is modified. Since .223
   projectile velocities are threefold greater than those of handgun projectiles, the increased
   magnitude of bullet velocity might account for the differences in bullet trajectory and penetration
   distance. The deviated trajectory of hollow point handgun projectiles was also greater than the
   deviation found with full metal jacketed handgun bullets; again, possibly due to contact point
   deformation. The preceding study more than ever identifies the need for a personal emphasis of
   marksmanship and tactical fundamentals. The shooter is responsible for the bullets that go
   downrange. Practice, be aware , manage your trigger, and watch your front sight!




   Many thanks to Jack Furr, Ron Benson, Pete Wright, and Seth Nadel, U.S.
   Customs, for conducting and reporting this test.

    .22 LR 40 gr Lightning 899 fps                   Captured in exterior wall   #2
    9mm 147gr Win JHP       948 fps                  Captured in exterior wall   #2
    9mm 147 gr Win JHP 1004 fps                      Exited exterior wall #2
    .40 S&W 180 gr FMJ 941 fps                       Exited exterior wall #2
    .40 S&W 180 gr Black T~8Jhfp51P                  Exited exterior wall #2
    .45 ACP 230 gr Win FMJBIBia.Hps                  Captured in exterior wall   #2
    .45 ACP 230 gr HydraSl@fil<J Jpij'               Exited exterior wall #2
    .223 (5.56) 55 gr Fed FM.9lffi&Hps               Exited exterior wall #2
    .223 (5.56) 55 gr Rem Slro19 fps                 Captured in exterior wall   #2
    .223 (5.56) 55 gr Fed JHRl12 fps                 Captured in exterior wall   #2




   ALL OF THE INFORMATION IN THIS ARTICLE IS BASED UPON THE
   PERSONAL EXPERIENCE OF INDIVIDUALS WHO MAY BE USING SPECIAL
   TOOLS, PRODUCTS, EQUIPMENT AND COMPONENTS UNDER PARTICULAR
   CONDITIONS AND CIRCUMSTANCES , SOME OR ALL OF WHICH MAY NOT
   BE REPORTED, NOR OTHERWISE VERIFIED IN THIS ARTICLE . NOTHING
   HEREIN IS INTENDED TO CONSTITUTE A MANUAL FOR THE USE OF ANY
   PRODUCT OR THE CARRYING OUT OF ANY PROCEDURE OR PROCESS.



                                                                                                  5/6
                                               Exhibit 9
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   Real World .223 Testing




   THE WRITERS, EDITORS, AND PUBLIISHERS OF TH IS ARTICLE ACCEPT NO
   RESPON SlBIJUTY FOR ANY LIABILITY, INJURIES OR DAMAGES ARISING
   OUT OF ANY PERSON 'S ATTEMPT TO RELY UPON ANY INFORMATION
   CONTAINED HEREIN .




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                                    Exhibit 9
                                      0039
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               EXHIB IT "10"




                                    Exhibit 10
                                      0040
        Case
11 /18/2019    3:19-cv-01537-BEN-JLB            Document
                   Why "High Powered" 5.56 NAT0/.223          22-12
                                                     AR-15 Ammo           Filed
                                                                is Safer For Home12/06/19       PageID.320
                                                                                  Defense (FBI overpenetration       Page
                                                                                                               testing)       65 of
                                                                                                                        - Prepared Gun104
                                                                                                                                       Owners

                            Why "High Powered" 5.56 NAT0/.223 AR-15 Ammo is Safer For
                            Home Defense (FBI overpenetration testing)
                            By Caleb - Jul 14, 20 16



                     6
                   Shares




                            If you listen to the mainstream media, then the standard 5.56 NAT0/.223 Remington cartridges the AR-15 shoots are
                            "high powered assault weapon" rounds that have no place in civilian hands.


                             (I hope you are catching the sarcasm as I'm pouring it on)


                             Yet, as we've discussed previously, th e AR-15 is a GREAT choice for Home Defense .


                             And what's even more amazing, is that it may be one of the "safest" bullets you can shoot from a gun in a home when
                             it comes to overpenetration concerns.


                             Home Defense and The Risks of Over-Penetration

                             The truth is that almost everyone, once they start thinking about home defense, starts to think about overpenetration.


                             In other words: what if I miss the bad guy? Where will the bullet go? Is it going to go through a wall and hit other
                             members of my family?


                             That's what they call "over penetration".


                             The truth is: almost any round that will penetrate deeply enough to hit vital organs in the human body (and stop an
                             attacker) will penetrate typical interior home walls.


                             That's because most walls are made up of little more than a couple 2x4 wood studs and drywall on each side. And
                             maybe some insulation dependlng on the part of the country.


                             Although this fact remains, that ANY adequate self-defense round will penetrate a wall because you need it to
                             penetrate human flesh, we still want to limit our penetration as much as possible .


                             Shotgun VS Pistol VS Rifle Home Defense Penetration

                             Your typical choices for home defense weapons are a pistol, the shotgun, or a rifle .


                              Now, when most people think of overpenetration risks they assume that pistol bullets would penetrate less than the
                              rifle or shotgun.


                             That's actually dead wrong .


                                                                            Exhibit 10
 preparedgunowners .com/2016/07 /14/why-h igh-powered-5-56-nato-223-ar-1 5-ammo-is-safer-for -home-defense-fbi-overpenetration-testing/               1/3
                                                                              0041
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11/18/2019   3:19-cv-01537-BEN-JLB            Document
                 Why "High Powered" 5.56 NAT0/.223          22-12
                                                   AR-15 Ammo          Filed
                                                              is Safer For    12/06/19
                                                                           Home              PageID.321
                                                                                Defense (FBI overpenetration       Page
                                                                                                             testing)       66 of
                                                                                                                      - Prepared Gun104
                                                                                                                                     Owners
                         Pistol bullets consistently penetrate the most.


                         Shotgun is next.


                         And rifle s, at least the so-called " high powered assault weapon" AR-15 in 5.56 NAT0/.223 Rem penetrates the LEAST.


                          FBI and Independent Testing Has Consistently Shown .223/5.56 NATO Fired From AR-15's Do
                          Not Over Penetrate More Than Pistol/Shotgun

                          First up is this older article by R.K . Taubert, a retired FBI agent with over 20 years experience who conducted
                          extensive cou nter-terrorism and weapons research while with the Bureau.


                         To quote Mr Taubert, (emphasis mine) " .. . Asa result of renewed law enforcement interest in the .223 round and in
                          the newer weapons systems developed around it, the FBI recently subjected several various .223 caliber projectiles to
                          13 different ballistic tests and compared their performance to that of SMG-fired hollow point pistol bullets in 9mm,
                          10mm, and .40 S&W calibers.


                          "Bottom Line: In every test, with the exception of soft body armor, which none of the SMG fired rounds
                          defeated, the .223 penetrated less on average than any of the pistol bullets."




                          And again on this page , there is testing by Gunsite Training Center Staff which found in a comparison of handgun
                          calibers (9mm, .40 S&W, .22 LR, .45 ACP), and rifle caliber .223 (5.56) that :


                          "The only ca libers which did NOT exit the "house" were .223 (5.56) soft point and hollow point loaded bullets."




                          Then there are the " Box O' Truth" tests with great pictures where they found, "... Common pistol rounds easily
                          penetrated all 4 walls spaced out at room distances ... The 12 gauge shotgun went through 4 walls like they were not
                          there ... The 5.56 rounds deviated greatly from the original flight path once they started tumbling . This occurred after
                          the second wall."




                          And this drywall testing concluded, "Moving away from rifle rounds takes us from fascinating discoveries into the realm
                          of mythbusting. Handgun rounds, for instance, may penetrate less than rifle rounds-but only if the rifle rounds in
                          question are full-power ball ammo. The relatively slow speed and heavy weight of handgun bullets make them
                          a poor choice for limiting interior wall penetration, which is why professional door-kicker types have
                          abandoned pistol-caliber submachineguns in favor of .223 carbines."




                          And this interesting test at outdoorub found "The pistol rounds were seemingly unaffected by the drywall and/or wood
                          barriers. There was no observable deviation or fragmentation of the 9mm projectiles. You'd be safe counting on a
                          pistol round to keep going, and going, and going .. . Even though the .223 rounds start with a lot more energy, they
                          tend to lose it quickly when encountering the barriers in this test ... Moral of the story? Don't trust the
                          mainstream media. Those high-powered, so called "assault weapons" may be safer than your average
                          pistol for inside-the-home defense. "


                          (NOTE: many of the rounds tested at outdoohub are found on the " approved list" of AR-15 self-defense ammo here .)


                          When It Comes To Home Defense, The AR-15 Rifle Ammo Is Less Likely To Over-Penetrate

                          The truth is that AR-15 ammo is less likely to overpenetrate. Yet it is highly effective at stopping threats. Sounds like a
                          good choice for Home Defense to me.


                          Please Note: that all this "rifle vs shotgun vs pistol" testing is comparing the AR-15 in standard 5.56/.223 to the pistols
                          and shotguns ...


                          That mean s that "other rifles" such as AK-47's in 7 .62x39, .308 hunting rifles or AR-10 style semi-autos, etc are not
                          included in these tests. THOSE rifle bullets would most likel y penetrate much, much further because they are bigger,
                          heavier bullets (though I'm not aware of much actual testing).




                                                                           Exhibit 10
preparedg unowners.com/2016/07 /14/why-h ig h-powered-5-56-nato-223-ar-15-ammo-is-safer-for-home-defense-fbi-overpenetration-testing/                   2/3
                                                                             0042
11 /1 8/20 19   Why "High Powered" 5.56 NAT0/.223 AR-15 Ammo is Safer For Home Defense (FBI overpenetration testing) - Prepared Gun Owners
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                           The bottom line to remember in all of this though is to still be aware of your target and what is
                           around/beyond it because ALL bullets that will penetrate deep enough to stop an attacker will still
                           penetrate at least one interior wall. And even a bullet, like the .223 that tends to lose stea m and deviate
                           after a wall or two can still be deadly to your family/innocents.


                           Check out these other articles for more on exce ll ent performing 5.56 NAT0/.223 ammo :


                           - The "Approve d List" Of 5.56 NAT0/.223 Rem Self-Defense/Duty Ammo


                           - The Best Home Defense Ammo For Your AR-15?


                           Anyways, I hope this clears up some misconceptions when it comes to choosing home defense ammo (or a gun) that
                           wil l be least li kely to penetrate .




                                                                                                  Caleb
                                    Caleb Lee is the# 1 best-selling author of "Concealed Carry 101" and founder of PreparedGunOwners.com . He is a civilian (no
                                                                                                                                                                 law
                               enforcement or military experience) who shares information about self-defense and becoming more self-reliant. He's a 1st degree
                                                                                                                                                                black belt
                               in Taekwondo, NRA Certified Basic Pistol & Personal Protection Inside Th e Home Instructor, Concealed Ca rry Academy Instructor
                                                                                                                                                               certified &
                                     also a graduate of the Rangermaster firearms in st ructor course. He's also the author of numerou s on line courses including the
                                                                                UndergroundAssaultRifle.com course.




                                                                                   Exhibit 10
preparedg unowners.com/201 6/07/14/why-high-powered-5-56-nato-223-ar -15-ammo-is-safer -for -home-defen se-fbi-overpenetration-testing/
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                                                                                     0043
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               EXHIBIT "11"




                                    Exhibit 11
                                      0044
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                                          BOLT GAS KEY   BOLT CARRIER




GAS BLOCK   GAS PORT     GAS TUBE                                            BUFFER    ACTION SPRING




                                                                               P.11:DILIIIIEB.DDM
                                      Exhibit 11
                                        0045
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               EXHIB IT "12"




                                    Exhibit 12
                                      0046
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  U.S. Department of Justice
  Office of Justice Program s
  Bureau ofJustice Statistics

                                              SPECIAL REPORT
  JANUARY 2019                                                                                                              NCJ 251776


     Source and Use of Firearms Involved in
     Crimes: Survey of Prison Inmates, 2016
  Mariel Alper, Ph.D., and Lauren Glaze, BJS Statisticians


         ased on the 2016 Survey of Prison Inmates

 B       (SPI), about 1 in 5 (21 %) of all state and federal
         prisoners reported that they had possessed or
  carried a firearm when they committed the offense
                                                               FIGURE 1
                                                               Percent of all state and federal prisoners who had
                                                               possessed or used a firearm during their offense, 2016

  for which they were serving time in prison (figure 1) .             Possesseda
  More than 1 in 8 (13%) of all prisoners had used                       Any gun
  a firearm by showing, pointing, or discharging it
  during the offense for which they were imprisoned.                    Handgun
  Fewer than 1 in 50 (less than 2%) of all prisoners had       Gun they obtained
  obtained a firearm from a retail source and possessed,        from retail source
  carried, or used it during the offense for which they
  were imprisoned.                                                         Usedb
  An estimated 287,400 prisoners had possessed a                         Any gun
  firearm during their offense. Among these, more than
  half (56%) had either stolen it (6%), found it at the                 Handgun
  scene of the crime (7%), or obtained it off the street       Gun they obtained
  or from the underground market (43%). Most of                 from retail source
  the remainder (25%) had obtained it from a family                                                                                    25
  member or friend, or as a gift. Seven percent had                                                      Percent
  purchased it under their own name from a licensed            Note: See appendix table 1 for standard errors.
  firearm dealer.                                              alncludes prisoners who carried or possessed a firearm during the
                                                               offense.
                                                               blncludes prisoners who showed, pointed, or discharged a firearm
                                                               during the offense.
                                                               Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



                                                       HIGHLIGHTS
    • About 21 % of state and 20% of federal prisoners said    • Among prisoners who possessed a firearm during
      they possessed a gun during their offense, while           their offense, 0.8% obtained it at a gun show.
      79% of state and 80% of federal prisoners did not.
                                                               • About 1 in 5 state and federal prisoners who
    • About 29% of state and 36% of federal prisoners            possessed a firearm during their offense obtained it
      serving time for a violent offense possessed a gun         with the intent to use it during the crime.
      during the offense.
                                                               • Among state prisoners who possessed a gun during
    • About 1.3% of prisoners obtained a gun from a retail       their offense, 27% killed someone with it, another
      source and used it during their offense.                   12% injured someone, 7% fired the gun but did not
    • Handguns were the most common type of firearm              injure anyone, and 54% did not fire it.
      possessed by state and federal prisoners (18% each);     • State prisoners with no military service were more
      11 % of all prisoners used a handgun.                      likely to possess a gun during their offense (21 %) than
    • Among prisoners who possessed a gun during their           prisoners who had served in the military (16%).
      offense, 90% did not obtain it from a retail source.




                                                         Exhibit 12
                                                           0047
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  Statistics in this report are based on self-reported                 survey since the 1970s, with the most recent iteration
  data collected through face-to-face interviews with                  fielded in 2004. The survey collects information from
  a national sample of state and federal prisoners in the              prisoners on a variety of topics, including firearm
  2016 SPI. (See Methodology.)                                         possession during the crime for which a prisoner was
                                                                       serving time and how the firearm was used during
  The 2016 SPI data collection was conducted from                      the crime. It also collects information on the method,
  January through October 2016. The SPI was formerly                   source, and process that prisoners used to obtain the
  known as the Survey of Inmates in State and Federal                  firearm. (See appendix 1, Questions related to firearms
  Correctional Facilities (SISFCF). The Bureau of                      in the Survey of Prison Inmates, 2016.)
  Justice Statistics (BJS) has periodically conducted the


    Terms and definitions
    • Firearm - a weapon that uses gunpowder to                                    Pawn shop - a business that offers secured
      shoot a bullet. Primary types are handguns, rifles,                          loans to custom ers, with personal property
      and shotguns:1                                                               used as collateral. This personal property is
        o    Handgun - a firearm which has a short stock                           sold to the public if the loan is not repaid.
             and is designed to be held and fired by the use                       Flea market - a market that rents space to
             of a single hand.                                                     individuals to sell or barter merchandise.
        o    Rifle - a firearm intended to be fired from the                       Gun show - a temporary market where
             shoulder and designed to use the energy of an                         licensed dealers and unlicensed sellers can
             explosive to fire only a single projectile through                    rent tables or booths to sell firearms.
             a rifled bore for each single pull of the trigger.
                                                                           o   Obtained from an individual - includes
        o    Shotgun - a firearm intended to be fired from                     purchasing, trading , renting , or borrowing
             the shoulder and designed to use the energy                       from a family or friend. Also includes when
             of an explosive to fire through a smooth                          the firearm was gifted to or purchased for
             bore either a number of ball shot or a single                     the person.
             projectile for each pull of the trigger.
                                                                           o   Off the street or underground market- illegal
    • Firearm possession - carrying or possessing at least                     sources of firearms that include markets for
      one firearm when the offense for which prisoners                         stolen goods, middlemen for stolen goods,
      were serving a sentence was committed .                                  criminals or criminal enterprises, or individuals
    • Firearm use - showing a firearm to or pointing a                         or groups involved in sales of illegal drugs.
      firearm at anyone or discharging a firearm during the                o   Theft- includes stealing the firearm during a
      offense for which a prisoner was serving time.                           burglary or from a retail source, family member,
    • Source of the firearm - from where and how                               friend , or another source.
      prisoners reported obtaining the firearm they                        o   Other sources - includes a firearm that a prisoner
      possessed during the crime for which they                                obtained or found at the location of the crime,
      were imprisoned-                                                         including one that belonged to a victim or that
         o   Purchased or traded from a retail source -                        someone else brought to the location of the
             includes a gun shop or store, pawn shop, flea                     crime. This category also includes sources for
             market, or gun show.                                              which there were few responses, such as for guns
                                                                               bought on line, and other sources that did not
                  Gun shop or store - a business                               fit into one of the existing categories. This also
                  establishment that sells firearms in an open                 includes instances where there was not enough
                  shopping format.                                             information to categorize the source, such as
    1Tue definitions of types of firearms in this section
                                                                               when a firearm was purchased from an unknown
                                                          were taken
                                                                               source or obtained from another person by an
    from 18 U.S.C. § 921 (2009) . They have been edited for length.
                                                                               unknown method.




  SOURCE A.NDUSEOFFIREARMSINVOLVED INCRIMES: SURVEYOF PRISONlNMATES, 2016 IJANUARY 2019                                             2
                                                                Exhibit 12
                                                                  0048
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  Controlling-offense characteristics.                                             the crime. About 37% of state and 28% of federal
                                                                                   prisoners serving time for homicide used a firearm
  About 29% of state and 36% of federal prisoners
                                                                                   during the homicide.
  serving a sentence for a violent offense in 2016
  possessed a firearm during the crime (table 1) . About                           Among those serving time for robbery, more than
  a quarter of state (23%) and federal (25%) prisoners                             2 in 5 state prisoners (43%) and federal prisoners (46%)
  serving time for a violent offense used a firearm during                         possessed a firearm during the offense, and nearly a
  the crime. "Firearm use" is defined in this report as                            third of state (31 %) and federal (32%) prisoners used
  showing, pointing, or discharging a firearm during the                           a firearm during the robbery. Firearm possession was
  offense for which a prisoner was serving a sentence.                             less common among state prisoners serving a sentence
                                                                                   for rape or sexual assault (2%) . Less than 1% of state
  Among prisoners serving time for homicide, more                                  prisoners serving time for rape or sexual assault used a
  than 2 in 5 (44%) state prisoners and more than 1 in 3                           fire arm in the commission of their crime.
  (36%) federal prisoners had possessed a firearm during


  TABLE 1
  Firearm possession and use among state and federal prisoners during the offense for which they were serving time,
  by type of controlling offense, 2016
                                             Estimated         Percent of state 11risoners who-       Estimated           Percent of federal 11risoners who-
                                             number of           Possessed                            number of             Possessed
  Controlling offensea                       state 11risonersb   a fi rea rm b   Used a firearmc      federa l 11risonersb a firearmb        Used a firearmc
      Tota l                                    1,211,200                20.9%             13.9%             170,400            20.0%               5.0%
  Violent*                                        667,300                29.1 %            23.0%              20,900            36.2%              25.3%
      Homicided                                    191,400              43.6              37.2                 3,800             35.9              28.4
      Rape/sexual assault                          144,800                2.0               0.8                2,400
      Robbery                                      149,600              43.3               31 .5              10,700            46.3               32.1
      Assau lt                                     149,400               25.0              20.6                2,900             29.0              18.1
      Other violente                                32,200               17.0              12.6                1,200             34.1
  Property                                         186,100                4.90/o t          2.0o/o t          12,000              2.60/ot
      Burglary                                      88,100                6.7               3.2                   300
      Other propert/                                98,000                3.3               1.0               11 ,800             2.4
  Drug                                             180,800                8.40/ot           0.80/o t          80,500             12.3% t            0.60/ot
      Trafficking9                                 130,500                9.4               0.9               72,300             12.9               0.7
      Possession                                    45,900                6.1                                  3,500
      Other/unspecified drug                         4,300                                                     4,700
  Public order                                     158,300               21.5%t             5.60/o t          52,900             30.2%              5.3%t
      Weaponsh                                      43,800               67.2              15.7               22,200             66.9              11.3
      Other public orderi                          114,400                4.0               1.7               30,700              3.6
  Other                                              3,900                                                     1,800
  Unknown                                           14,900                4.3%t                                2,200
  Note: See appendix table 2 for standard errors.
  *Comparison group.
  tDifference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
  (e.g., homicide).
  : Not calculated.Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  asee Methodology for information on how controlling offense was measured.
  bExcludes 3.0% of state prisoners and 1.7% of federa l prisoners who we re missing responses on firearm possession. Includes prisoners who were
  missing responses on firearm use.
  cExcludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession, and an additional 0.6% of state
  prisoners and 0.7% of federa l prisoners who were missing responses on firearm use.
  01ncludes murder and both negligent and non-negligent
                                                                 manslaughter.
  elncludes kidnapping, blackmail, extortion, hit-and-run driving with bodily injury, chi ld abuse, and criminal endangerment.
  flncl udes larceny, theft, motor vehicle theft, arson, fraud , stolen property, destruction of property, vandalism, hit-and-run driving with no bodily injury,
  criminal tampering, trespassing, entering without breaking, and possession of burglary tools.
  91ncludes possession with intent to distribute.
  hlncludes being armed while commiting a crime; possession of ammunition, concealed weapons, firearms and explosive devices; selling or trafficking
  weapons; and other weapons offenses. Among federal prisoners, weapons offense include violations of federal firearms and explosives.
  ilncludes commercialized vice, immigration crimes, DUI, violations of probation/parole, and other public-order offenses.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



  SOURCEAND USEOFFIREARMSINVOLVED INCR IMES: SU RVEYOFPRISON INMATES, 201 6 \ JANUARY 2019                                                                   3
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  State and federal prisoners serving time for a violent                         Extent of firearm use among prisoners during
  offense were much more likely to have possessed a                              the crime
  firearm during the offense (29% state, 36% federal)
  than prisoners serving time for a property (5% state,                          State and federal prisoners in 2016 who had possessed
  3% federal) or drug (8% state, 12% federal) offense.                           a firearm during their offense were about equally
  Among prisoners serving time for a public-order                                likely to report that they had obtained the firearm
  offense, about I in 5 (21 %) state prisoners and nearly                        with the intent to use it during the offense ( 19% state,
  1 in 3 (30%) federal prisoners reported that they                              20% federal) (table 2) . However, state prisoners (68%)
  possessed a firearm during the crime, and about I in 20                        who possessed a firea rm were more than 2.5 times
  reported they had used it. About two-thirds of state                           as likely as federal prisoners (26%) who possessed a
  and federal prisoners sentenced for a weapons offense                          firearm to have used it during the crime.
  said they possessed a firearm during the crime.2
                                                                                 Nearly half of state prisoners (46%) serving a sentence
  Zrn addition to prisoners serving a sentence in state or federal               for a crime during which they possessed a firearm
  prison in 2016 who possessed a firearm during the offense, weapons             discharged the firearm when they committed the
  offenses include prisoners who were convicted of trafficking                   crime, compared to 12% offederal prisoners. Among
  firearms but did not possess them at the time of the offense and
  prisoners who were convicted of a weapons offense that did not
                                                                                 state prisoners who possessed a firearm during their
  involve a firearm .                                                            offense, 27% killed a victim with the firearm and
                                                                                 anoth er 12% injured or shot a victim but did not kill
                                                                                 him or her. Federal prisoners who possessed a firearm
                                                                                 when they committed their offense were much less
                                                                                 likely to have killed (4%) or injured (2%) a victim with
                                                                                 the firearm than state prisoners.


  TABLE2
  Among state and federal prisoners who possessed a firearm during the offense for which th ey were serving time,
  extent of firearm use, 2016
                                                                                               State Qri soners                 Federal Qrisoners
                                                         State          Federal            Violent        Non-violent       Violent      Non-violent
  Firearm use                                            Qrisoners*     Qrisoners          offense*       offensea          offense*     offensea
     Total                                                 100%          100%                100%           100%             100%            100%
  Obtained fi rearm because planned to use
   in controlling offenseb
    Yes                                                   19.3%          19.7%              17.7%           24.60/ot         26.4%          18.0%
    No                                                    80.7           80.3               82.3            75.4 t           73.6           82.1
  Used firearmc                                           68.0%          25.90/ot           81.0%           24.80/ot         72.5%          12.90/ot
    Discharged                                            46.5%          11.90/ot           55.9%           15.4% t          27.3%           7.5% t
       Killed victim                                      27.1            4.1 t             35.0                             16.5
       Injured/shot victim but did not kill victim        12.4            2.2 t             14.5             5.3 t
       Discharged fi rearm but did not shoot anyone        7.0            5.6                6.4             9.0              5.7             5.4
    Did not discharged                                    21.5%          14.0o/ot           25 .2%           9.40/ot         45.3%            5.40/ot
  Did not use fi rearm                                        32.0%           74.lo/ot             19.0%           75.20/ot  27.5%           87.lo/ot
     Esti mated number of prisoners who possessed
       a firearm (with valid data}e                          245,400          32,900              187,800         57,000       7,200          25,600
  Note: Percentages are based on data reported on fi rearm possession, use, and controlling offense. Excludes 3.1% of state prisoners and 3.5% of federal
  prisoners who possessed a fi rearm during the offense and were missing respo nses on firearm use and 0.3% of state prisoners and 0.7% of federa l
  prisoners who possessed a fi rearm and were missing a controlling offense. The sum of violent offense and non-violent offense does not equal the total
  number of state and federal prisoners who possessed a firearm in this table due to an estimated 600 state and 100 federal prisoners whose offense
  type was unknown. See appendix table 3 for standard errors.
  *Comparison group.
  tDifference with comparison group is signifi cant at the 95% confidence level.
  : Not calculated. Too few cases to provide a reliable estimate, or coeffi cient of variation is greater than 50%.
  alncludes property, drug, public order, and other non-violent offenses.
  bPercentages are based on the 246,200 state and 32,600 federa l prisoners who reported they carried or possessed a firearm and whether they
  obtained a firearm to use during the offense.
  clncludes prisoners who showed a firearm to anyone, pointed a firea rm at anyone, or discharged the fi rearm during the offense.
  dlncludes prisoners who showed or pointed a firearm at anyone during the offense but did not discharge it.
  elncludes prisoners who reported they carried or possessed a fi rearm. Excludes prisoners who were missing responses on firearm possession or use.
  For violent offense and non-violent offense, also excludes prisoners who were missing a controlling offense.
  Source: Bureau of Justice Statistics, Survey of Prison In mates, 20 16.

                                                                      Exhibit 12
                                                                        0050
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  Among prisoners who possessed a firearm during                               Type of firearm possessed by prisoners
  a violent offense, a large majority of both state                            during offense
  (81 %) and federal (73%) prisoners used the firearm
  during the offense, far more than the percentages for                        Handguns were by far the most common type of
  non-violent offenders (25% state, 13% federal). More                         firearm possessed or used by prisoners during the
  than half (56%) of state prisoners serving time for a                        crime for which they were sentenced. About 18% of all
  violent offense who possessed a firearm during the                           state and federal prisoners in 2016 reported that they
  crime discharged it, compared to fewer than a sixth                          had possessed a handgun during the crime for which
  (15%) of non-violent offenders in state prison who                           they were serving a sentence (table 3). Two percent or
  possessed a firearm. Violent offenders (27%) in federal                      fewer possessed a rifle or a shotgun. Twelve percent
  prison who possessed a firearm during the crime were                         of state and 5% of federal prisoners used a handgun
  about 3.5 times as likely to discharge it as non-violent                     during their offense. Most state (79%) and federal
  offenders (8%). Among state prisoners who had                                (80%) prisoners did not possess any type of firearm
  possessed a firearm during their offense, however,                           during the crime for which they were imprisoned.
  non-violent offenders (25%) were more likely than
  violent offenders (18%) to have planned to use the
  firearm during the offense.

  TABLE3
  Firearm possession and use among state and federal prisoners during the offense for which th ey were serving time,
  by type of firearm, 2016
                                       Percent of prisoners who possessed a firearm                  Percent of prisoners who used a firearm a
  Type of firearm                  All prisoners          State*           Federal             All prisoners           State*             Federal
     Tota l                             100%              100%                100%                  100%               100%                100%
  Firearmb                             20.8%              20.9%              20.0%                  12.8%                 13.9%                5.0o/ot
     Handgun                              18.4               18.4               18.3                11.2                  12.2                 4.6
     Rifie                                  1.5                1.4                2.0 t                 0.8                0.8                 0.4 t
     Shotgun                               1.6                 1.6                1.7                   1.1                1.2                 0.4 t
  No firearm                              79.2%              79.1%              80.0%                  87.2%              86.1%               95.0%
     Estimated number of
       prisoners (with valid data)'      1,378,200          1,208,100          170,100               1,378,200          1,208,100            170,100
  Note: Details on type of firearm may not sum to totals because prisoners could report more than one type of firearm. Percentages exclude missing data.
  Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession during the offense and an additional
  0.3% of state prisoners and 0.2% of federa l prisoners who were missing responses on type of firearm. See appendix table 4 for standard errors.
  *Comparison group.
  tDifference with comparison group is significant at the 95% confidence level.
  aPercentages exclude 0.6% of state prisoners and 0.7% of federa l prisoners who were missing responses on firearm use.
  blncludes prisoners who reported a type of firearm that did not fit into one of the existing categories and those who did not provide enough
  information to categorize the type of firearm. About 0.1% of state prisoners and 0.2% of federal prisoners reported another type of firearm or did not
  report enough information to specify the type of firearm.
  'Excludes prisoners who were missing responses on firearm possession or type of fi rearm. Counts are weighted to totals from the 20 15 National
  Prisoner Statistics Program; see Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJSweb, July 2019).
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SOURCE AND USEOF FIREARMS IN VO LVED INCR IMES: SU RVEY OF PRISON INMATES, 201 6 IJAN UARY 201 9                                                    5
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  Demographic characteristics                                                 3 in 10 (29%) black prisoners serving a sentence in
                                                                              state prison in 2016 possessed a firearm during their
  Male prisoners were more likely than female prisoners                       crime. White (12%) and Hispanic (21 %) state prisoners
  to have possessed a firearm during their crime. About                       were less likely to have possessed a firearm during
  a fifth of male state and federal prisoners serving a                       their crime. Similarly, white (17%) and Hispanic ( 13%)
  sentence in 2016 possessed a firearm during the crime                       federal prisoners serving a sentence in 2016 were less
  (table 4). Males in state prisons in 2016 were about                        likely to have possessed a firearm during the crime
  2.5 times as likely (22%) as females in state prisons                       than black (29%) federal prisoners. State prisoners who
  (9%) to have possessed a firearm during the crime for                       served in the military were less likely to have possessed
  which they were imprisoned. In federal prisons, males                       a firearm during their crime ( 16%) than state prisoners
  (21 %) were about three times as likely as females (7%)                     who had not served in the military (21 %).
  to have possessed a firearm during their crime. Almost


  TABLE4
  Firearm possession among state and federal prisoners during the offense for which they were serving time, by
  demographic characteristics, 2016
                                                                      State                                             Federal
                                                                      Percent of prisoners who                           Percent of prisoners who
                                                         Number of    possessed a firea rm du ring               Numbe r of
                                                                                                                         possessed a firea rm du ring
  Demograehic characteristic                             erisoners    the offense                                        the offense
                                                                                                                 erisoners
  Sex
      Male*                                              1,124,200                    21.8%                        159,800             20.9%
      Female                                                 87,000                    9.5 t                        10,600               6.6 t
  Race/Hispanic origina
     White                                                 383,300                    12.4% t                       35,400             16.60/ot
      Black*                                               401,500                    29.4                          53,800             29.2
      Hispanic                                             247,200                    21.5 t                        62,600             12.6 t
     American Indian/Alaska Native                           17,200                   14.8 t                         2,800             23.8
     Asian/Native Hawaiian/Other Pacific Islander            10,700                   22.8                           2,600
     Two or more races                                     133,100                    19.1 t                        10,900             29.3
  Age at ti me of survey
      18-24*                                               123,800                    31.7%                          8,200             30.1%
      25-34                                                389,100                    24.4 t                        47,700             27.4
      35-44                                                318,800                    19.3 t                        58,800              19.0 t
     45-54                                                 224,800                    14.6 t                        36,700              14.1 t
      55 or older                                          154,800                    16.0t                         19,000              12.2 t
  Marital status
      Married*                                             168,500                    16.7%                         36,800              14.4%
     Widowed/widowered                                       34,300                   18.3                           3,100              21.7
      Separated                                              58,300                   12.7 t                         9,600              12.8
      Divorced                                             233,300                    14.5                          30,900              15.2
      Never married                                        715,900                    24.8 t                        90,000              24.6 t
  Educationb
      Less than high school*                               750,500                    23.1%                         94,900              22.7%
      High school graduate                                 273,700                    19.6 t                        36,500              19.4
      Some college                                         133,900                    14.7 t                        23,100              18.8
      College degree or more                                43,600                    11.0 t                        12,700               6.3 t
  Citizenship
      U.S. citizen*                                      1,156,800                    21.0%                        127,500              24.2%
      Non-U.S. citizen                                       53,100                   18.5                          42,400               7.2 t
  Military service
      Yes*                                                  95,200                    15.6%                          9,200              15.9%
      No                                                 1,115,900                    21.4 t                       161,200              20.3
  Note: Percentages and counts exclude missing data. Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on
  firearm possession during the offense. Details for counts may not sum to tota ls due to missing data. See appendix table 5 for standard errors.
  *Comparison group.
  tDifference with comparison group is significant at the 95%confidence level.
  : Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  aExcludes persons of Hispanic/Latino origin, unless specified.
  bsased on highest year of education completed.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
                                                                  Exhibit 12
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  In general, the likelihood of state and federal prisoners                    Method, source, and process used to obtain
  having possessed a firearm during their crime decreased                      the firearm
  with age. Firearm possession among state prisoners ages
  18 to 24 (32%) in 2016 was more common than among                            Among prisoners who possessed a firearm when they
  older prisoners. Federal prisoners ages 18 to 24 (30%)                       committed the offense for which they were imprisoned
  were more likely to possess a firearm than those age 35                      and who reported the source from which they obtained
  or older (16%, not shown in table).                                          it, the most common source (43%) was off-the-street or
                                                                               the underground market (table 5) . Another 7% of state
  The difference in firearm possession between                                 and 5% of federal prisoners stole the firearm, and 7%
  U.S. citizens (21%) and non-citizens (18%) in state                          of state and 8% of federal prisoners reported that they
  prisons in 2016 was not statistically significant. Among                     obtained the firearm at the location of the crime.
  federal prisoners serving a sentence in 2016, firearm
  possession was more than three times as high among
  U.S. citizens (24%) as non-citizens (7%).

  TABLE 5
  Among state and federal prisoners who had possessed a firearm during the offense for which they were serving
  time, sources and methods used to obtain a firearm, 2016
  Source and method to obtain firearm                                           All prisoners                    State                      Federal
  Purchased/traded at retail source                                                  10.1%                       9.7%                        13.7%
      Gun shop/store                                                                   7.5                       7.2                          9.6
      Pawn shop                                                                        1.6                       1.5                          2.2
      Flea market                                                                      0.4
      Gun show                                                                         0.8                       0.8                          1.4
  Obtained from individual                                                           25.3%                      26.0%                        20.5%
      Purchased/traded from family/friend                                              8.0                       7.9                          9.1
      Rented/borrowed from family/friend                                               6.5                       7.0                          3.0
      Gift/purchased for prisoner                                                    10.8                       11.2                          8.4
  Off the street/underground marketa                                                 43.2%                      43.2%                        42.9%
  Theftb                                                                               6.4%                      6.6%                         4.7%
      From burglary                                                                    1.5                       1.5
      From retail source                                                               0.2
      From family/friend                                                               1.6                       1.8
      Unspecified theftc                                                               3.1                       3.3                          1.8
  Other source                                                                       17.4%                      17.1%                       20.1%
      Found at location of crime/victim                                                6.9                       6.7                          7.9
      Brought by someone else                                                          4.6                       4.7                          3.6
      Otherd                                                                           5.9                       5.6                          8.5
  Multiple sourcese                                                                    2.5%                      2.6%                         2.0%
      Estimated number of prisoners who possessed a firearm,
        excluding prisoners who did not report sourcef                             256,400                     227, 100                    29,300
  Note: Prisoners were asked to report all sources and methods of obtaining any firearm they possessed during the offense, so details may not sum to
  totals. Each source is included in this table when multiple sources were reported. See Methodology. Percentages exclude missing data. Excludes 10.3%
  of state prisoners and 14.1 % of federal prisoners who possessed a firearm during the offense and were missing responses on either source or method
  of obtaining the firearm. These prisoners were excluded either because they did not provide a valid response or they did not receive the questions
  due to providing an open-ended response to the previous question about type of weapon. See appendix table 6 for standard errors.
  : Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  a111egal sources of firearms that include markets for stolen goods, middlemen for stolen goods, criminals or criminal enterprises, or individuals or
  groups involved in sales of illegal drugs.
  bExcludes theft from victim.
  Cincludes theft where the source could not be identified and theft other than from a burglary, retail location, family, or friend.
  d1ncluded if no source specified in the table was reported. Includes sources that did not fit into one of the existing categories, sources for which
  there were few responses such as bought on line, or if there was not enough information to categorize the source. Examples of other sources include
  bought from an unknown source or obtained from a friend by an unknown method.
  e1ncludes prisoners who reported multiple sources or methods that fit into more than one of the categories. Each reported source is included in the
  categories above.
  f1ncludes prisoners who reported they carried or possessed a firearm and prisoners who reported a source or method.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SO URCE AND USE OFFIREARMSINVOLVED INCRIMES: SURVEYOFPRISO NINMATES, 201 6 IJANUARY2019                                                            7
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  Among prisoners who possessed a firearm during the
                                                                       TABLE 6
  offense for which they were imprisoned, 7% of state
                                                                       Among state and federal prisoners who had possessed
  and 10% of federal prisoners serving a sentence in 2016
                                                                       a firearm during the offense for which they were
  bought or traded for the firearm from a gun shop or                  serving time, processes used to obtain a firearm, 2016
  gun store. About 1% bought or traded for the firearm
                                                                                                      All
  at a gun show. About a quarter (26%) of state prisoners              Process to obtain firearm                 ~risoners State          Federal
  and about a fifth (21 %) of federal prisoners obtained a                Total                                    100%         100%       100%
  firearm that they possessed during their offense from                Not purchased or traded at retail
  an individual in a non-retail setting, such as a friend or             source                                   89.9%        90.3%       86.3%
  family member.                                                       Purchased or traded at retail sourcea 10.1%               9.7%      13.7%
                                                                          Licensed firearm dealer at retail
                                                                           source                                   8.2          7.9       10.9
  Prisoners who reported that they had purchased or
                                                                             Purchased under own nameb              6.9          6.8        8.4
  traded a firearm at a retail source were asked if they
                                                                             Background check was
  had obtained the firearm from a licensed dealer or                           reportedly conductedc                6.7          6.3        9.4
  private seller. Among prisoners who had possessed a                     Private seller at retail sourced          1.2          1.1        2.3
  firearm during the offense for which they were serving                  Unknowne                                  0.7          0.8
  time, 8% of state and 11 % of federal prisoners had                     Estimated number of prisoners
  purchased it from or traded with a licensed firearm                       who possessed a firearm (with
                                                                            valid data)f                         256,400 227,100          29,300
  dealer at a retail source (table 6) .                                Note: Percentages exclude missing data. Excludes 10.3% of state
                                                                       prisoners and 14.1 % of federal prisoners who possessed a firearm
  Prisoners who reported that they had purchased a                     during the offense and were missing responses on source or method of
                                                                       obtaining the firearm. See appendix table 7 for standard errors.
  firearm from a licensed firearm dealer at a retail source
                                                                       : Not calculated. Too few cases to provide a reliable estimate, or
  were further asked whether they bought the firearm                   coefficient of variation is greater than 50%.
  under their own name and whether they knew a                         alncludes prisoners who purchased or traded from a retail source,
  background check was conducted. Among those who                      including a retail store, pawn shop, flea market, or gun show.
                                                                       blncludes prisoners who purchased from a retail source, including a
  had possessed a firearm during the offense for which                 retail store, pawn shop, flea market, or gun show. Excludes prisoners
  they were imprisoned, 7% of state and 8% of federal                  who traded for a firearm from a retail source.
  prisoners had purchased it under their own name                      clncludes prisoners who purchased from a retail source, including a
                                                                       retail store, pawn shop, flea market, or gun show. Excludes prisoners
  from a licensed firearm dealer at a retail source, while             who traded for a firearm from a retail source and prisoners who reported
  approximately 1% of state and 2% of federal prisoners                that a background check was not conducted or who were unaware as to
                                                                       whether one was conducted.
  had purchased a firearm from a licensed dealer at a                  dExcl udes private sellers other than at a retail source.
  retail source but did not purchase it under their own                elncludes prisoners who purchased or traded a firearm from a retail
  name (not shown in table).                                           source and were missing responses on whether a firearm was purchased
                                                                       or traded from a licensed firearm dealer or a private seller at a retail
                                                                       source.
  Among all prisoners who purchased or traded a
                                                                       flncludes prisoners who reported they carried or possessed a firearm
  firearm from a licensed firearm dealer at a retail source            and prisoners who reported a source or method.
  (8.2%), the majority reported that a background check                Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
  was conducted (6.7%) .




  SOURCE AND USEOF FIREARMSINVO LVED INCR IMES: SURVEYOFPRI SON INMATES, 2016 IJANUARY 2019                                                    8
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  Use and source of firearms among all state and                              Thirteen percent of all state and federal prisoners
  federal prisoners                                                           used a firearm during the offense for which they were
                                                                              serving time in 2016.
  About 1% of all state and federal prisoners used a
  firearm during the offense that they obtained from
  a retail source ( table 7) . About 2% of prisoners
  possessed a firearm that they obtained from a retail
  source, including a retail store, pawn shop, flea market,
  or gun show.


  TABLE 7
  Firearm possession and use among all state and federal prisoners during the offense for which they were serving
  time, by type of controlling offense and source, 2016
                           Percent of state and federal erisoners who-           Percent of state and federal erisoners who-
                                                 Possessed a firearm that they                         Used a firearm that they
  Controlling offensea  Possessed a firearmb obtained from a retail sourcec    Used a firearmd         obtained from a retail sourcee
    Total                    20.8%                         1.9%                   12.8%                               1.3%
  Violent*                   29.3%                         2.8%                   23.1%                               2.3%
    Homicidef                43.5                          5.9                    37.0                                5.2
    Robbery                  43.5                          1.8                    31.5                                1.3
  Property                    4.80/ot                      0.50/ot                  1.90/ot
  Drug                        9.60/ot                      1.0o/ot                  0.80/ot                           0.10/ot
  Public order               23.6%t                        1.7% t                   5.5% t                            0.60/ot
  Note: Percentages exclude missing data. Excludes 2.8% of prisoners who were missing responses on firearm possession during the offense and 1.2% of
  prisoners who had a valid response to firearm possession but were missing a controlling offense. Retail source includes purchasing or trading the
  firearm from a retail store, pawn shop, flea market, or gun show. Use includes prisoners who showed a firearm to anyone, pointed a firearm at anyone,
  or discharged a firearm during the controlling offense. See appendix table 8 for standard errors.
  *Comparison group.
  t Difference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
  (e.g., homicide).
  : Not calcu lated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  asee Methodology for more information on how controlling offense was measured.
  blncludes state and federal prisoners who reported a valid response to firearm possession.
  clncludes state and federal prisoners who reported a valid response to firearm possession and source.
  dlncludes state and federal prisoners who reported a valid response to firearm possession and use.
  elncludes state and federal prisoners who reported a valid response to firearm possession, source, and use.
  flncludes murder and both non-negligent and negligent manslaughter.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SOURCEANDUSEOF FIREARMSINVOLVED INCRIMES: SURVEYOF PRISON INMATES, 2016 IJAN UARY 2019                                                             9
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  Methodology                                                       state prisons and 100% among federal prisons).3
                                                                    A total of 24,848 prisoners participated (20,064 state
                                                                    and 4,784 federal) in the 2016 SPI based on a sample
  Survey of Prison Inmates
                                                                    of 37,058 prisoners (30,348 state and 6,710 federal).
  The findings in this report are primarily based on data           The second-stage response rate (i.e., the response rate
  collected through the 2016 Survey of Prison Inmates               among selected prisoners) was 70.0% (69.3% among
  (SPI) . The SPI is a periodic, cross-sectional survey of          state prisoners and 72.8% among federal prisoners).4
  the state and sentenced federal prison populations.
                                                                     Responses from interviewed prisoners in the 2016 SPI
  Its primary objective is to produce national statistics
                                                                     were weighted to provide national estimates. Each
  of the state and sentenced federal prison populations
                                                                     interviewed prisoner was assigned an initial weight
  across a variety of domains, including-but not limited
                                                                     corresponding to the inverse of the probability of
  to- demographic characteristics, current offense and
                                                                     selection within each sampled prison. A series of
  sentence, incident characteristics, firearm possession
                                                                     adjustment factors were applied to the initial weight
  and sources, criminal history, socioeconomic
                                                                     to minimize potential bias due to non-response and to
  characteristics, family background, drug and alcohol
                                                                     provide national estimates.
  use and treatment, mental and physical health and
  treatment, and facility programs and rule violations.              For more information on the 2016 SPI methodology,
  RTI International served as BJS's data collection agent            see Methodology: Survey of Prison Inmates, 2016
  for the 2016 SPI under a cooperative agreement (award              (NCJ 252210, BJS web, July 2019).
  no. 2011-MU-MU-K070). From January through
  October 2016, data were collected through face-to-face
                                                                     Standard errors and tests of significance
  interviews with prisoners using computer-assisted
  personal interviewing (CAPI) .                                     When national estimates are derived from a sample, as
                                                                     with the SPI°, caution must be used when comparing
  Prior iterations of the SPI were known as the
                                                                     one estimate to another or when comparing estimates
  Survey of Inmates in State and Federal Correctional
                                                                     between years. Although one estimate may be larger
  Facilities (SISFCF), which was renamed with the
                                                                     than another, estimates based on a sample rather than
  2016 implementation. The first survey of state
                                                                     a complete enumeration of the population have some
  prisoners was fielded in 1974 and thereafter in 1979,
                                                                     degree of sampling error. The sampling error of an
  1986, 1991, 1997, and 2004. The first survey offederal
                                                                     estimate depends on several factors, including the size
  prisoners was fielded in 1991, along with the survey
                                                                     of the estimate, the number of completed interviews,
  of state prisoners, and since then both surveys have
                                                                     and the intracluster correlation of the outcome within
  been conducted at the same time using the same
                                                                     prisons. When the sampling error around an estimate
  questionnaire and administration.
                                                                     is taken into account, estimates that appear different
  The target population for the 2016 SPI was prisoners               may not be statistically different. One measure of
  ages 18 and older who were held in a state prison                  the sampling error associated with an estimate is the
  or had a sentence to federal prison in the United                  standard error. The standard error may vary from one
  States during 2016. Similar to prior iterations, the               estimate to the next. Standard errors in this report were
  2016 survey was a stratified two-stage sample design               estimated using Taylor Series Linearization to account
  in which prisons were selected in the first stage and              for the complex design of the SPI in producing the
  prisoners within sampled facilities were selected in               variance estimates.
  the second stage. The SPI sample was selected from
                                                                     3A total of 15 prisons (12 state and 3 federal) that were sampled
  a universe of2,001 unique prisons (1,808 state and                 were deemed ineligible for the 2016 SPI. For more information,
  193 federal) that were either enumerated in the                    see Methodology: Survey of Prison Inmates, 2016 (NC) 252210, BJS web,
  2012 Census of State and Federal Adult Correctional                July 2019).
                                                                     4TI1ere were 10,661 sampled prisoners who were eligible for the
  Facilities or had opened between the completion of the             survey but did not participate. Another 1,549 sampled prisoners
  census and July 2014 when the SPI sample of prisons                were deemed ineligible for the survey. For more information, see
  was selected. A total of 364 prisons (306 state and                Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
                                                                     July 2019).
  58 federal) participated in the 2016 survey out of the
  385 selected (324 state and 61 federal) for interviewing.
  The first-stage response rate (i.e., the response rate
  among selected prisons) was 98.4% (98.1 % among


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  Readers may use the estimates and standard errors                   the estimated 1,421,700 state and federal prisoners in
  of the estimates provided in this report to generate                2016, an estimated 287,400 were armed with a firearm,
  a 95% confidence interval around the estimates as a                 1,094,200 were not armed with a firearm, 23,800 did
  measure of the margin of error. Typically, multiplying              not know or refused to answer the question, and
  the standard error by 1.96 and then adding or                       16,300 were not asked the question because they were
  subtracting the result from the estimate produces the               not convicted or they stopped the interview before
  confidence interval. This interval expresses the range              responding to the question.s
  of values with which the true population parameter is
  expected to fall 95% of the time if the same method is              To determine whether prisoners possessed a firearm
  used to select different samples.                                   at the time of the offense for which they were serving
                                                                      time in prison, respondents were first asked whether
  For small samples and estimates close to 0%, the use                they had carried, possessed, or used a weapon when
  of the standard error to construct the 95% confidence               the controlling offense occurred. Respondents could
  interval may not be reliable. Therefore, caution should             report that they carried, possessed, or used a firearm or
  be used when interpreting the estimates. Caution                    another weapon such as a toy or BB gun, knife, other
  should also be used if constructing a 95% confidence                sharp object, or blunt object. Weapons other than
  interval, which would include zero in these cases,                  firearms, including toy and BB guns, were excluded
  because the estimate may not be distinguishable                     from this report. Multiple weapons and firearms could
  from zero.                                                          be reported by respondents.
  TI1e standard errors have been used to compare                      Of the respondents who were asked about possessing
  estimates of firearm possession during the offense,                 a firearm during the offense for which they were
  firearm use during the crime, and type of firearm                   imprisoned, about 3.0% of state and 1.7% of federal
  possessed. They have also been used to compare                      prisoners in 2016 were missing responses on firearm
  firearm possession among selected groups of prisoners               possession. These prisoners were excluded from the
  that have been defined by demographic characteristics               analyses in this report. All prisoners who reported they
  and controlling offense. To facilitate the analysis, rather         carried, possessed, or used a firearm during the offense
  than provide the detailed estimates for every standard              were asked whether they had obtained the firearm
  error, differences in the estimates for subgroups in                because they were planning to carry, possess, or use
  the relevant tables in this report have been tested and             it during the offense. They were also asked whether
  notated for significance at the 95% level of confidence.            they showed, pointed, or fired the firearm during
  Readers should reference the tables for testing on                  the offense. Respondents who reported that they
  specific findings. Unless otherwise noted, findings                 fired the firearm were also asked whether they shot
  described in this report as higher, lower, or different             anyone and, if so, whether anyone they shot had died.
  passed a test at the 0.05 level of statistical significance         Of the respondents who possessed a firearm during
  (95% confidence level) .                                            the offense, about 3.1 % of state and 3.5% of federal
                                                                      prisoners in 2016 were missing responses on how they
  M easurement of firearm possession and source                       used the firearm . These prisoners were excluded from
                                                                      the analyses in figure l, tables 1 through 3, and table 7.
  The 2016 SPI was restricted to prisoners age 18 or
  older at the time of the survey. Firearms analyses                  To measure the type of firearm possessed by prisoners,
  in this report were restricted to state and federal                 respondents were asked whether they had carried,
  prisoners who were sentenced or state prisoners who                 possessed, or used a handgun, rifle, shotgun, or
  were convicted but were awaiting sentencing. This                   some other type of firearm during the offense for
  report excludes prisoners who were awaiting trial                   which they were imprisoned. About 0.3% of state
  (i.e., unconvicted) or a revocation hearing or who                  prisoners and 0.2% of federal prisoners in 2016 were
  were held for other reasons. Unconvicted prisoners,                 missing responses on the type of firearm that they
  such as those awaiting trial or being held for other                possessed. These prisoners, along with prisoners who
  reasons like safekeeping or a civil commitment, were                were missing a response on firearm possession, were
  excluded from this report because they were not asked               excluded from the analyses in table 3.
  questions about firearm possession to protect against
                                                                      5Toe SPI sample was weighted to the state and federal prison
  self-incrimination. (See appendix 1, Questions related              populations that were eligible to be sampled in the survey. See
  to firearms in the Survey of Prison Inmates, 2016.) Of              Methodology: Survey of Prison Inmates, 2016 (NCJ 2522 10, BJS web,
                                                                      July 20 19).


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  To measure the source and method of obtaining the                       Prisoners who reported purchasing or trading a
  firearm possessed by prisoners during their crime, two                  firearm from a retail source (gun shop or gun store,
  separate questions were asked in the survey. The first                  pawn shop, flea market, or gun show) were asked if
  question asked how the prisoners obtained the firearm,                  they purchased or traded it from a licensed firearm
  and multiple responses could be reported in the                         dealer or a private seller. Prisoners who reported
  2016 SPI. Possible responses included stole it, rented                  they purchased a firearm from a retail source were
  it, borrowed it from or were holding it for somebody,                   further asked whether they bought the firearm under
  traded something for it, bought it, someone bought it                   their own name and whether the seller did a firearm
  for them, someone gave it as a gift, found it or it was at              purchase background check before selling them the
  the location where the offense occurred, it was brought                 firearm. About 1% of the respondents who possessed a
  by someone else, or other. If respondents specified                     firearm during the offense purchased or traded it from
  an "other" method of obtaining the firearm, then the                    a retail source and were missing responses on whether
  field interviewers entered the respondents' answers                     they bought the firearm from a licensed dealer or
  into a text field. These responses originally reported                  private seller. About 1% of respondents who possessed
  as "other" were coded to one of the existing response                   a firearm during the offense purchased it from a
  categories if possible.                                                 retail source and were missing responses on whether
                                                                          the firearm was purchased under their own name or
  The second question asked where prisoners obtained
                                                                          whether a background check was conducted.
  the firearm, and multiple responses could be reported
  in the 2016 SPI. Respondents received this question if
  they reported that they stole, rented, borrowed from                    Measurement of controlling offense
  or were holding for somebody, traded something for,
                                                                          The way controlling offense was measured through
  or bought the firearm . Possible responses included
                                                                          the 2016 SPI, and reflected in this report, varies
  gun shop or gun store; pawn shop; flea market; gun
                                                                          by sentence status and the number of offenses
  show; from a victim, family member, or friend; from a
                                                                          of prisoners:
  fence (a middleman for stolen goods) or underground
  market; off the street or from a drug dealer; in a                      • For sentenced prisoners and those awaiting
  burglary; online or the internet; or other. Fewer than                    sentencing with one offense, that offense is the
  1% of state and federal prisoners reported obtaining a                    controlling offense.
  firearm online. These responses were included in table
  5 in the "other" category due to the small number of                    • For sentenced prisoners with multiple offenses and
  sample cases. If respondents specified an "other" source                  sentences, the controlling offense is the one with the
  of obtaining a firearm, then the field interviewers                       longest sentence.
  entered the respondents' answers into a text field.                     • For sentenced prisoners with multiple offenses and
  Responses originally reported as "other" were coded to                    one sentence and those awaiting sentencing with
  one of the existing response categories if possible.                      multiple offenses, the controlling offense is the most
                                                                            serious offense. For this report, violent offenses are
  The responses from these two questions were used to
                                                                            considered most serious, followed by property, drug,
  create the source and method categories in figure 1
                                                                            public-order, and all other offenses.
  and tables 5 through 7. Approximately 10.3% of state
  and 14.1 % offederal prisoners in 2016 who possessed                    For prisoners who were convicted but awaiting
  a firearm during the offense for which they were                        sentencing, the controlling offense is the most
  serving a sentence were missing responses on source or                  serious offense.
  method of obtaining the firearm. These prisoners were
  excluded from figure 1 and tables 5 through 7.




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   Appendix 1. Questions related to firearms in the Survey of Prison Inmates, 2016
  This appendix includes the questions from the 2016 SPI             CJHS. (ASK IF RESPONDENT REPORTED "FIREARM" IN
  that were used to measure the firearms' constructs in this         CJH2.) How did you obtain the (INSERT"firearm" OR
  report. Text that appears in capital letters in the questions      "firearms") that you carried, possessed, or used during the
  was not read out loud to respondents. That text reflects           (INSERT CONTROLLING OFFENSE)? Any others? CHECK ALL
  programming instructions for the CAPI instrument,                  THAT APPLY.
  instructions to field interviewers who conducted the
                                                                      • STOLE IT (GOTO CJH6)
  interviews, or response options that were not read
  out loud to respondents but were coded by the field                 • RENTED IT (GO TO CJH6)
  interviewers during the interviews.                                 • BORROWED FROM OR WAS HOLDING FOR SOMEBODY
  Questions                                                             (GOTO CJH6)

  CJ39. (ASK IF RESPONDENT REPORTED BEING SENTENCED                   • TRADED SOMETHING FOR IT (GO TO CJH6)
  IN CJl OR CJ3 OR IF RESPONDENT REPORTED HE/SHE WAS                  • BOUGHT IT (GO TO CJH6)
  AWAITING SENTENCING IN CJH2A.) Did you carry, possess,
                                                                      • SOMEONE BOUGHT IT FOR ME (GO TO CJH7)
  or use a weapon when the (INSERT CONTROLLING
  OFFENSE) occurred?                                                  • SOMEONE GAVE ITTO ME AS A GIFT (GO TO CJH9)

  • YES                                                               • FOUND IT/WAS AT LOCATION WHERE OFFENSE
                                                                        OCCURRED (GO TO CJH9)
  • NO (SKIP TO NEXT SECTION)
                                                                      • WAS BROUGHT BY SOMEONE ELSE (GOTO CJH9)
  CJH1. How many weapons did you carry, possess, or use
  when the (INSERT CONTROLLING OFFENSE) occurred?                     • OTHER

  • ONE                                                                    o   How did you obtain the firearm that you carried ,
                                                                               possessed, or used during the offense?
  • TWOORMORE
                                                                               -   INTERVIEWER: RECORD RESPONSE VERBATIM .
  CJH2. What (INSERT"kind of weapon was it?" OR "kinds of
  weapons were they?") CHECK ALL THAT APPLY.                          CJH6. (ASK IF RESPONDENT REPORTED"FIREARM" IN CJH2
                                                                      AND REPORTED IN CJHS HE/SHE "STOLE IT'; "RENTED IT';
  • FIREARM
                                                                      "BORROWED FROM OR WAS HOLDING FOR SOMEBODY';
  • TOY OR BB GUN (INCLUDE FAKE OR REPLICA GUNS)                      "TRADED SOMETHING FOR IT'; OR "BOUGHT IT".) Where
  • KNIFE                                                             did you obtain the (INSERT TYPE OF FIREARM REPORTED
                                                                      IN CJH4)? CHECK ALL THAT APPLY.
  • OTHER SHARP OBJECT (SCISSORS, ICE PICK, AX, ETC.)
                                                                      • GUN SHOP OR GUN STORE (GO TO CJH6A)
  • BLUNT OBJECT (ROCK, CLUB, BLACKJACK, ETC.)
                                                                      • PAWN SHOP (GO TO CJH6A)
  • ANOTHER WEAPON
                                                                      • FLEA MARKET (GO TO CJH6A)
       o   What kinds of weapons were they?
                                                                      • GUN SHOW (GO TO CJH6A)
            -   INTERVIEWER: RECORD RESPONSE VERBATIM.
                                                                      • FROM THE VICTIM(S) (GO TO CJH9)
  CJH3. (ASK IF RESPONDENT REPORTED "FIREARM" IN
  CJH2.) How many firearms did you carry, possess, or use             • FROM A FAMILY MEMBER (GOTO CJH9)
  when the (INSERT CONTROLLING OFFENSE) occurred?                     • FROM A FRIEND (GO TO CJH9)
  • ENTER NUMBER OF FIREARMS                                          • FROM A FENCE/BLACK MARKET SOURCE (GO TO CJH9)
  CJH4. (ASK IF RESPONDENT REPORTED "FIREARM" IN                      • OFF THE STREET/FROM A DRUG DEALER (GOTO CJH9)
  CJH2.) What (INSERT"type of firearm was it?" OR "types of
                                                                      • IN A BURGLARY (GO TO CJH9)
  firearms were they?") CHECK ALL THAT APPLY.
                                                                      • ONLINE/THE INTERNET (GOTO CJH9)
  • A HANDGUN
                                                                      • OTHER
  • A RIFLE
                                                                           o   Where did you obtain the (INSERT TYPE OF
  • A SHOTGUN
                                                                               FIREARM REPORTED IN CJH4)?
  • SOME OTHER TYPE OF FIREARM
                                                                                   INTERVIEWER: RECORD RESPONSE VERBATIM.
       o   What type of firearm?
            -   INTERVIEWER: RECORD RESPONSE VERBATIM.                                                   Continued on next page




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   Appendix 1. Questions related to fi rearms in the Survey of Prison Inmates, 2016 (continued}
  CJH6a. (ASK IF RESPONDENT REPORTED IN CJH6 THAT                          • OFF THE STREET/FROM A DRUG DEALER
  THE FIREARM WAS FROM A "GUN SHOP OR GUN STORE';
                                                                           • IN A BURGLARY
  "PAWN SHOP'; "FLEA MARKET'; OR "GUN SHOW''. ) When
  you obtained the (INSERT TYPE OF FIREARM REPORTED                        • ONLINE/THE INTERNET
  IN CJH4) was it from a licensed firearm dea ler or a                     • OTHER
  private seller?
                                                                                o   Where did that person obtain the (INSERT TYPE OF
  • LICENSED FIREARM DEALER                                                         FIREARM REPORTED IN CJH4)?
  • PRIVATE SELLER                                                                   -   INTERVIEWER: RECORD RESPONSE VERBATIM.
  CJH6b. (ASK IF RESPONDENT REPORTED IN CJHS THAT                          CJHS. (ASK IF RESPONDENT REPORTED "SOMEONE ELSE
  HE/ SHE"BOUGHT IT" AND IN CJH6 REPORTEDTHATTHE                           BOUGHT IT FOR ME" IN CJHS.) Why did someone el se
  FIREARM WAS FROM A "GUN SHOP OR GUN STORE'; "PAWN                        obtain the (INSERTTYPE OF FIREARM REPORTED IN CJH4)
  SHOP'; "FLEA MARKET'; OR "GUN SHOW''.) Did you buy the                   for you? CHECK ALL THAT APPLY.
  (INSERT TYPE OF FIREARM REPORTED IN CJH4) under your
                                                                           • COULD NOT TRAVEL TO WHERE THE SELLER WAS
  own name?
                                                                           • NOT ALLOWED BECAUSE TOO YOUNG
  • YES
                                                                           • NOT ALLOWED BECAUSE OF CRIMINAL RECORD
  • NO
                                                                           • THEY COULD GET IT MORE QUICKLY OR EASILY
  • NO PAPERWORK WAS REQUIRED
                                                                           • DID NOTWANTTO BE LINKED TO FIREARM PURCHASE
  CJH6c. (ASK IF RESPONDENT REPORTED IN CJHS THAT
  HE/ SHE "BOUGHT IT" AND REPORTED IN CJH6 THAT THE                        • OTHER
  FIREARM WAS FROM A "GUN SHOP OR GUN STORE'; "PAWN                             o   Why did someone else obtain the (INSERT TYPE
  SHOP'; "FLEA MARKET'; OR "GUN SHOW''.) Did the seller do                          OF FIREARM REPORTED IN CJH4) for you?
  a firearm purchase background check before selling you
                                                                                     -   INTERVIEWER: RECORD RESPONSE VERBATIM .
  the gun?
                                                                           CJH9. Did you get the (INSERT TYPE OF FIREARM
  • YES
                                                                           REPORTED IN CJH4) because you were planning
  • NO                                                                     to carry, possess, or use it during the (INSERT
  CJH6d. (ASK IF RESPONDENT REPORTED IN CJHS THAT                          CONTROLLING OFFENSE)?
  HE/S HE "BOUGHT IT" AND REPORTED IN CJH6 THAT THE                        • YES
  FIREARM WAS FROM A "GUN SHOP OR GUN STORE'; "PAWN
  SHOP '; "FLEA MARKET'; OR "GUN SHOW''.) Did you buy the                  • NO
  (INSERT TYPE OF FIREARM REPORTED IN CJH4) directly or                    CJH10. Did you show or point (INSERT "the firearm"
  did someone else buy it for you?                                         OR "a ny of the firearms") at anyon e during the (INSERT
                                                                           CONTROLLING OFFENSE)?
  • INMATE BOUGHT
  • SOMEONE ELSE BOUGHT                                                    • YES

  CJH7. (ASK IF RESPONDENT REPORTED "SOMEONE ELSE                          • NO
  BOUGHT IT FOR ME" IN CJHS.) Where did that person                        CJH11. Did you fire (INSERT"the firearm" OR "a ny of the
  obtain the (INSERT TYPE OF FIREARM REPORTED IN CJH4)?                    firearms") during the (INSERT CONTROLLING OFFENSE)?
  • GUN SHOP OR GUN STORE                                                  • YES
  • PAWN SHOP                                                              • NO (SKIP TO NEXT SECTION)
  • FLEA MARKET                                                            CJH12. Did you shoot anyone?

  • GUN SHOW                                                               • YES
  • FROM THE VICTIM(S)                                                     • NO (SKIP TO NEXT SECTION)
  • FROM A FAMILY MEMBER                                                   CJH13. Did anyone you shot die?
  • FROM A FRIEND                                                          • YES
  • FROM A FENCE/BLACK MARKET SOURCE                                       • NO




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  APPENDIX TABLE 1
  Standard errors for figure 1: Percent of all state and
  federal inmates who had possessed or used a firearm
  during their offense, 2016
  Characteristic                           Possessed           Used
  Any gun                                    0.64%             0.51 %
  Handgun                                    0.59              0.46
  Gun they obtained from retail source       0.13              0. 12
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



  APPENDIX TABLE 2
  Standard errors for table 1: Firearm possession and use among state and federal prisoners during the offense for
  which they were serving time, by type of controlling offense, 2016
                                              Estimated      Percent of state erisoners who-          Estimated        Percent of fede ral erisoners who-
                                              number of        Possessed                              number of          Possessed
  Controlling offense                         state erisoners a firearm        Used a firearm         federal erisoners a firearm          Used a firearm
     Total                                        31,100          0.69%             0.57%                  8,300            1.76%               0.71 %
  Violent                                         22,400          0.90%             0.73%                  2,700            2.87%               2.83%
     Hom icide                                    10,900          1.16              1.12                      700           6.53                4.75
     Rape/sexual assault                           9,900          0.36              0.22                     600
     Robbery                                       6,700          1.32              1.28                   1,600            3.73                3.80
     Assault                                       5,900          1.34              1.24                      700           5.15                4.52
     Oth er violent                                2,100          2.03              1.73                      300           8.42
  Property                                         7,800          0.53%             0.32%                  2,000            0.83%
     Burglary                                      3,900          0.80              0.54                      100
     Other property                                5,800          0.58              0.33                   2,000            0.81
  Drug                                            11,400          0.68%             0.20%                  5,400            0.87%               0.21 %
     Trafficking                                   9,700          0.83              0.24                   5,000            0.88                0.21
     Possession                                    3,400          1.06                                       600
     Other/unspecified drug                          700                                                      600
  Public order                                     8,400          1.35%             0.58%                  3,600            3.55%               0.88%
     Weapons                                       3,000          2.02              1.70                   2,700             2.02               1.60
     Other public order                            7,200          0.70              0.42                   3,800             0.89
  Other                                              600                                                      300
  Unknown                                          1,400          1.61 %                                      400
  : Not calculated.Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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  APPENDIX TABLE 3
  Standard errors for table 2: Among state and federal prisoners who possessed a firearm during the offense for
  which they were serving time, extent of firearm use, 2016
                                                                                                 State prisoners             Federal prisoners
                                                         State           Federal            Violent        Non-violent   Violent       Non-violent
  Firearm use                                            prisoners       prisoners          offense        offense       offense       offense
  Obtained firearm because planned to use
    in controlling offense
     Yes                                                    0.81 %         1.57%              0.81%           2.00%       4.01 %        1.88%
     No                                                     0.81           1.57               0.81            2.00        4.01          1.88
  Used firearm                                              1.11 %        1.92%               0.85%           1.83%       3.86%         1.57%
    Discharged                                              1.34%         1.17%               1.36%           1.47%       3.58%         1.14%
       Killed victim                                        1.28          0.75                1.40                        2.49
       Injured/shot victim but did not kill victim          0.73          0.55                0.86            0.89
       Discharged firearm but did not shoot anyone          0.47          0.98                0.51            1.17        2.16          1.02
    Did not discharge                                       0.97%         1.60%               1.21 %          1.24%       4.99%         0.87%
  Did not use firearm                                        1.11 %         1.92%                0.85%          1.83%     3.86%         1.57%
     Estimated number of prisoners who possessed
       a firearm (with valid data)                          10,100         3,100                 9,200         3,400      1,200         2,200
  : Not calculated.Too few cases to provide a reliable estimate or coefficient of variation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


  APPENDIX TABLE 4
  Standard errors for table 3: Firearm possession and use among state and federal prisoners during the offense for
  which they were serving time, by type of firearm, 2016
                                         Percent of prisoners who possessed a firearm         Percent of prisoners who used a firearm
  Type of firearm                    All prisoners           State           Federal  All prisoners            State              Federal
  Firearm                                 0.64               0.69%             1.76%       0.51                0.57%               0.71 %
     Handgun                              0.59               0.64              1.63        0.46                0.51                0.67
     Rifle                                0.10               0.10              0.28        0.07                0.08                0.13
     Shotgun                              0.11               0.12              0.22        0]9                 QlO                 0]9
  No firearm                              0.64               0.69              1.76        0.51                0.57                0.71
     Estimated number of
       prisoners (with valid data)      32,100              31,000            8,300      32,100               31 ,000              8,300
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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  APPENDIX TABLE 5
  Standard errors for table 4: Firearm possessi on among state and federal prisoners during the offense for which
  they were serving time, by demographic characteristics, 2016
                                                                           State                                              Federal
                                                                            Percent of prisonerswho                             Percent of prisonerswho
                                                          Number of         possessed afire arm                   Number of     possessed afirearm
  Demograehic characteristic                              erisoners         during the offense                    erisoners     du ring the offense
  Sex
      Ma le                                                30,700                      0.74%                         8,200             1.88%
      Female                                                 5,200                     0.96                          1,300             1.00
  Race/Hispanic origin
      White                                                 16,500                     0.64%                         3,900             2.28%
      Black                                                 16,200                     0.91                          5,600             2.02
      Hispanic                                              12,400                     1.26                          8,000             1.70
      America n Indian/Alaska Native                         2,500                     2.94                            800             5.18
      Asian/Native Hawaiian/Other Pacific Islander           1,600                     4.69                            600
      Two or more races                                      5,000                     1.19                          1,200             3.50
  Age at time of survey
      18- 24                                                 8,200                     1.7 1%                        1,000             5.69%
      25-34                                                13,700                      1.00                          3,200             2.57
      35-44                                                  9,500                     0.94                          3,400             1.68
      45- 54                                                 9,100                     0.76                          2,400             1.68
      55 or older                                            7,700                     1.02                          2,200             2.02
  MaritaI status
      Married                                                6,300                     1.06%                         3,100             1.77%
      Widowed/widowered                                      2,000                     2.10                            400             5.93
      Separated                                              2,700                     1.34                          1,200             3.11
      Divorced                                             10,600                      0.97                          2,200             1.58
      Never married                                        20,100                      0.81                          5,800             2.10
  Education
      Less than high school                                21,500                      0.83%                         6,000             2.18%
      High school graduate                                   8,500                     0.88                          2,100             1.69
      Some college                                           5,000                     0.96                          2,000             2.08
      College degree or more                                 2,500                     1.43                          2,000             1.83
  Citizenship
      U.S. citizen                                         30,000                      0.69%                       10,700              1.87%
      Non-U.S. citizen                                       3,700                     2.04                          9,500             1.09
  Military service
      Yes                                                    4,800                     1.07%                         1,200             2.98%
      No                                                   28,700                      0.72                          8,200             1.80
  : Not calcu lated. Too few cases to provide a reliable estimate, or coefficient of va riation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SOURCEAN DUSE OF FIREARMSINVOLVED INCR IMES: SURVEYOFPRISO NINMATES, 201 6 IJAN UARY 2019
                                                                                                                                                    17
                                                                       Exhibit 12
                                                                         0063
Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.343 Page 88 of 104


  APPENDIX TABLE 6
  Standard errors for table 5: Among state and federal prisoners who had possessed a firearm during the offense for
  which they were serving time, sources and methods used to obtain a firearm, 2016
  Source and method to obtain firearm                                        All prisoners                      State   Federal
  Purchased/traded at retail source                                              0.66%                          0.70%    2.07%
     Gun shop/store                                                              0.54                           0.56     1.87
     Pawn shop                                                                   0.27                           0.29     0.62
     Flea market                                                                 0.13
     Gun show                                                                    0.16                           0.17     0.44
  Obtained from individual                                                       0.87%                          0.94%    2.02%
     Purchased/traded from fam ily/friend                                        0.59                           0.65     1.27
     Rented/borrowed from family/friend                                          0.47                           0.52     0.54
     Gift/purchased for prisoner                                                 0.69                           0.75     1.40
  Off the street/underground market                                              1.07%                          1.13%    3.26%
  Theft                                                                          0.48%                          0.53%    0.79%
     From burg lary                                                              0.22                           0.24
     From retail source                                                          0.07
     From family/friend                                                          0.26                           0.29
     Unspecifi ed theft                                                          0.31                           0.34    0.53
  Other source                                                                   0.78%                          0.85%   1.80%
     Found at location of crime/victim                                           0.50                           0.53     1.31
     Brought by someone else                                                     0.45                           0.49     0.87
     Other                                                                       0.51                           0.55     1.40
  Multiple sources                                                               0.27%                          0.29%    0.50%
     Estimated number of prisoners who possessed a firearm,
       excluding prisoners who did not report sou rce                            9,900                          9,500    2,800
  : Not calcu lated.Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



  APPENDIX TABLE 7
  Standard errors for table 6: Among state and federal
  prisoners who had possessed a firearm during the
  offense for which they were serving time, processes
  used to obtain a firearm, 2016
                                          All
  Process to obtain firearm               prisoners State         Federal
  Not purchased or traded at retail
    source                                  0.66%       0.70%      2.07%
  Purchased or traded at retail source 0.66%            0.70%      2.07%
     Licensed firearm dealer at retail
       source                               0.60        0.63       2.08
        Purchased under own name            0.54        0.57       1.89
        Backgroundcheck was
          reportedly conducted              0.54        0.56       1.93
     Private seller at retai l source       0.19        0.20       0.63
     Unknown                                0.21        0.24
     Estimated number of prisoners
       who possessed a firearm (with
       valid data)                          9,900      9,500       2,800
  : Not calculated.Too few cases to provide a reliable estimate, or
  coefficient of variation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SOURCE AND USE OFFIREARMSINVOLVED INCRIMES: SURVEY Of PRISONINMATES, 2016 IJANUARY 2019                                         18
                                                                       Exhibit 12
                                                                         0064
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  APPENDIX TABLE 8
  Standard errors for table 7: Firearm possession and use among all state and federal prisoners during the offense for
  which they were serving time, by type of controlling offense and source, 2016
                                    Percent of state and federal erisoners who-        Percent of state and federal erisoners who-
                                                         Possessed a firearm that they                   Used a firearm that they
  Controlling offense             Possessed a firearm obtained from a retail source    Used a firearm obtained from a retail source
    Total                               0.64%                    0.13%                    0.51 %                       0.12%
  Violent                               0.88%                    0.23%                    0.72%                        0.21 %
    Homicide                            1.14                     0.63                     1.10                         0.62
    Robbery                             1.25                     0.29                     1.22                         0.25
  Property                              0.50%                    0.15%                    0.30%
  Drug                                  0.52%                    0.17%                    0.15%                        0.04%
  Public order                          1.35%                    0.27%                    0.48%                        0.17%
  : Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




  SOURCEAND USEOFFIREARMSINVOLVED INCRIMES: SURVEYOFPRISON INMATES, 2016 IJANUARY 2019                                          19
                                                                       Exhibit 12
                                                                         0065
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               The Bureau of Justice Statistics of the U.S. Department of Justice is the principal
               federal agency responsible for measuring crime, criminal victimization,
               criminal offenders, victims of crime, correlates of crime, and the operation of
               criminal and civil justice systems at the federal, state, tribal, and local levels.
               BJS collects, analyzes, and disseminates reliable statistics on crime and justice
               systems in the United States, supports improvements to state and local criminal
               justice information systems, and participates with national and international
               organizations to develop and recommend national standards for justice statistics.
               Jeffrey H. Anderson is the director.
               This report was written by Mariel Alper and Lauren Glaze of BJS. Mariel Alper
               conducted statistical analyses. Marcus Berzofsky and John Bunker ofRTI
               International provided statistical review. Danielle Kaeble, Laura Maruschak,
               Todd Minton, and Stephanie Mueller verified the report. Lauren Glaze was the
               BJS project manager for the 2016 Survey of Prison Inmates.
               Eric Hendrixson and Jill Thomas edited the report. Tina Dorsey and Morgan
               Young produced the report.
               January 2019, NCJ 251776




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                                                           0066
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              EXHIBIT "13"




                                    Exhibit 13
                                      0067
11 /18/2019
      Case 3:19-cv-01537-BEN-JLB
                            MossbergDocument        22-12
                                    500 Tactical - SPX       Filed- 12/06/19
                                                       Pump Shotgun Item# 1477325 IPageID.347       Page 92 of 104
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                                                                             by Mossberg                                      @1477325    1 IMPNJS1   523




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                                                               LENGTH




                                                                   Exhibit 13
https://www.sportsmans .com/shooting -g ear-gun -supplies/shotguns/mossberg-500-tactical-spx-pump-shotgun/p/1477325
                                                                     0068                                                                                   1/3
Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.348 Page 93 of 104




              EXHIBIT "14"




                                    Exhibit 14
                                      0069
           Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.349 Page   94 of 104
                                                                               MidwayUSA .com
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AR-STONER Flash Hider A2 1/2 -28 Thread AR-15                                                                                                                11




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    SUGGESTED PRODUCTS



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             AR-STONER Crush                                                                          AR-STONER Flash                                             Wilson Combat A2
             Washer AR-15 ...                                                                         Hider A2 5/8"-24 ...                                        Birdcage Flash ...
              *****                                2 Revie ws                                         *****                               17 Re views             *****       78 Reviev.
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threads is an effective option for redu cin g muzzle
fla sh from AR-15 rifle barrel s. Thi s high quality, matte
steel, fl ash hid er is ready for installation on your AR-
15 rifl e.
                                                                                                                                                             Exhibit 14
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Case 3:19-cv-01537-BEN-JLB Document 22-12 Filed 12/06/19 PageID.350 Page 95 of 104




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                                    Exhibit 14
                                      0071
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              EXHIBIT "15"




                                    Exhibit 15
                                      0072
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Violent Crimes Most Likely to Occur At Night




                             When are criminals active during the day? The Crimes at Night: Analyzing
June 14, 2019                Police Incident Reports in Major Cities reveals that violent crimes occur most
                             often at night.

                                                  Exhibit 15
                                                    0073
In 2017,
     Casean estimated 1,247,321 violent
            3:19-cv-01537-BEN-JLB       crimes occurred
                                      Document   22-12 nationwide,  a decrease
                                                        Filed 12/06/19         of 0.2 percent
                                                                        PageID.353     Page 98from  the
                                                                                                of 104
2016 estimate, according to FBI data.

More than half of police incidents took place during the day:

     Larceny/theft, drug violations, simple assaults, and property crimes were slightly more likely to
     happen while the sun was out, but more violent crimes such as driving while impaired, murder,
     rape/sexual assault, and robbery were more frequently reported at night.



                            Percentage of Police Incident Reports, by Offense Type
                                                    At Night        During the Day
                  Offense
                                                    Percentage      Percentage

                  DWI/DUI                           87%             13%
                  Murder & Negligent
                                                    65%             35%
                  Manslaughter
                  Rape/Sexual Assault               59%             41%
                  Robbery                           56%             44%
                  Aggravated Assault                54%             46%
                  Motor Vehicle Theft               51%             49%
                  Burglary                          50%             50%
                  Property Crime                    48%             52%
                  Simple Assault                    47%             53%
                  Drug Violation                    43%             57%
                  Larceny/Theft                     40%             60%



Police incidents tend to happen between Monday and Friday.

     Friday experienced the highest peak in known crime reports during the day, with an average of 755
     police incidents per 10,000 residents. Alternatively, Sunday had the fewest incidents during the day –
     an average of 595 per every 10,000 individuals.
     When are violent crimes most likely to happen? Unfortunately, midnight was the peak hour for
     violent crimes like rape and sexual assault, while 2 a.m. was the ideal time to stay off the roads –
     DWI/DUI police incidents happened the most then.
     Murder peaked at 9 p.m. and aggravated assault peaked just an hour after.




                                                 Exhibit 15
                                                   0074
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                                                        Exhibit 15
                                                          0075
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                                     104




             EXHIBIT "16"




                                  Exhibit 16
                                    0076
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                                     104




                                  Exhibit 16
                                    0077
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                                     104




             EXHIBIT "17"




                                  Exhibit 17
                                    0078
11/18/2019                             Virginia Tech shooting leaves 32 dead - HISTORY
        Case 3:19-cv-01537-BEN-JLB Document      22-12 Filed 12/06/19 PageID.358 Page 103 of
                                                   104




                          THIS DAY IN HISTORY                  I APRIL 16 v




                            Win McNamee! Getty Images

                          On this day in 2007, 32 people died after being gunned down on the campus of
                          Virg i nia Tech by Seung Hui Cho, a student at the college who later committed suicide .

                          The Virg in ia Tech shooting began around 7:15 a.m ., when Cho, a 23-year-old senior
                          and English major at Blacksburg-b ased Virginia Polytechnic Institute and State
                          University, shot a female freshman and a male resident assistant in a campus
                          dormitory before fleeing the building.

                          Police were soon on the scene; unaware of the gunman's identity, they initially
                          pursued the female victim's boyfriend as a suspect in what they believed to be an
                          isolated domestic-vio lence incident .

                          However, at around 9:40 a.m ., Cho, armed with a 9-millimeter handgun, a 22-caliber
                          handgun and hundreds of rounds of ammunition, entered a classroom building,
                          chained and locked several main doors and went from room to room shooting people .
                          Approximate ly 10 minutes after the rampage began, he died from a self-inflicted
                          gunshot wound .

                          The attack left 32 people dead and more than a dozen wounded. In all, 27 students
                          and five faculty members died in the mas sacre .


                                                                      Exhibit 17
https://www.history.com/this-day-in-history/massacre-at-virginia-tech-leaves-32-dead
                                                                        0079                                         1/2
11/18/2019                                        Virginia Tech shooting leaves 32 dead - HISTORY
        Case 3:19-cv-01537-BEN-JLB Document                 22-12 Filed 12/06/19 PageID.359 Page 104 of
                                                              104 a package of materials from Cho with
                   Two days later, on April 18, NBC News received
                          a timestamp indicating he had mailed it from a Virginia post office between the fir st
                          and second shooting attacks. Contained in the package were photos of a gun -wielding
                          Cho, along with a rambling video diatrib e in which he ranted about wealthy "brat s,"
                          among other topics.

                          In the aftermath of the Virgini a Tech shooting, authorities found no evidence that
                          Cho, who was born in South Korea and moved to America with his family in 1992, had
                          specifically targeted any of his victims . The public soon learned that Cho, described
                          by students as a loner who rarely spoke to anyone, had a history of mental-health
                          problems .

                          It was also revealed that angry, violent writings Cho made for certain class
                          assignments had raised concern among some of his professors and fellow students
                          well before the events of April 16 .

                          In 2011, Virginia Tech was fined by the U.S . Department of Education for failing to
                          issue a prompt campus-wide warning after Cho shot his first two victims .

                          School officials sent an email notification about the dorm shooting to stude nts and
                          faculty at 9:26 that morning . According to the Department of Education, the mes sage
                          was vague and did not indicate there had been a murder or that the gunman was st ill
                          at large .

                          Citation Information
                          Article Title
                          Virginia Te ch shooting leave s 32 dead

                          Author
                          History .com Ed itors

                          Website Name
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    ALSO ON THI S DAY




                                                                      Exhibit 17
https://www.history.com/this-day-in-history/massacre-at-virginia-tech-leaves-32-dead
                                                                        0080                                                          2/2
